                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 1 of 92 Page ID #:1



                          1    Jason S. Angell, Bar No. 221607
                               jangell@hopkinscarley.com
                          2    Christopher A. Hohn, Bar No. 271759
                               chohn@hopkinscarley.com
                          3    Cary Chien, Bar No. 274078
                               cchien@hopkinscarley.com
                          4    Robert K. Jain, Bar No. 309728
                               rjain@hopkinscarley.com
                          5    HOPKINS & CARLEY
                               A Law Corporation
                          6    The Letitia Building
                               70 South First Street
                          7    San Jose, CA 95113-2406
                          8    mailing address:
                               P.O. Box 1469
                          9    San Jose, CA 95109-1469
                               Telephone: (408) 286-9800
                    10         Facsimile: (408) 998-4790
                    11         Attorneys for Plaintiffs
                               BROADCOM CORPORATION and AVAGO
                    12         TECHNOLOGIES INTERNATIONAL SALES
                               PTE. LIMITED.
                    13
                    14                              UNITED STATES DISTRICT COURT
                    15                             CENTRAL DISTRICT OF CALIFORNIA
                    16                                      SOUTHERN DIVISION
                    17         BROADCOM CORPORATION and               Case No. 8:20-cv-529
                               AVAGO TECHNOLOGIES
                    18         INTERNATIONAL SALES PTE.               COMPLAINT FOR PATENT
                               LIMITED,                               INFRINGEMENT
                    19
                                              Plaintiffs,             DEMAND FOR JURY TRIAL
                    20
                               v.
                    21
                               NETFLIX, INC.,
                    22
                                              Defendant.
                    23
                    24
                    25
                    26
                    27
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW           692\3399782
 SAN JO SE   PALO AL TO
                               COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 2 of 92 Page ID #:2



                          1             Plaintiffs Broadcom Corporation (“Broadcom Corp.”) and Avago
                          2    Technologies International Sales Pte. Limited (“Avago”) (collectively, the
                          3    “Broadcom Entities”) file this Complaint for Patent Infringement against Defendant
                          4    Netflix, Inc. (“Netflix”) and allege as follows:
                          5                                    NATURE OF THIS ACTION
                          6             1.   This complaint alleges patent infringement. The Broadcom Entities
                          7    allege that Netflix has infringed and continues to infringe, directly and/or indirectly,
                          8    eight patents: U.S. Patent Nos. 7,266,079 (the “’079 Patent”); 8,259,121 (the “’121
                          9    Patent”); 8,959,245 (the “’245 Patent”); 8,270,992 (the “’992 Patent”); 6,341,375
                    10         (the “’375 Patent”); 8,572,138 (the “’138 Patent”); 6,744,387 (the “’387 Patent”);
                    11         6,982,663 (the “’663 Patent”); and 9,332,283 (the “’283 Patent”). Copies of these
                    12         patents (collectively, the “Patents-in-Suit”) are attached hereto as Exhibits A-I.
                    13                  2.    The Patents-in-Suit cover foundational technologies that are essential
                    14         to various aspects of Netflix’s video streaming service, and the systems that Netflix
                    15         uses to support this service.
                    16                  3.   Netflix directly infringes the Patents-in-Suit by making, using, offering
                    17         to sell, selling, and/or importing into the United States internet video streaming
                    18         technology, software, and services that practice the inventions claimed in the
                    19         Patents-in-Suit. Netflix directs and controls each relevant aspect of the accused
                    20         technology discussed herein, and benefits from the use of each feature that infringes
                    21         the Patents-in-Suit.
                    22                  4.   Netflix indirectly infringes the Patents-in-Suit by inducing its
                    23         consumer end-users to directly infringe these patents. For example, Netflix induces
                    24         infringement by providing software (e.g., the Netflix application) that, when used
                    25         by consumers or other content viewers to stream digital content to televisions,
                    26         personal computers, phones, tablets, and other devices, as directed and intended by
                    27         Netflix, causes those end-users to use and practice the inventions claimed in the
                    28         Patents-in-Suit.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW           692\3399782
 SAN JO SE   PALO AL TO
                               COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 3 of 92 Page ID #:3



                          1             5.    The Broadcom Entities seek damages and other relief for Netflix’s
                          2    infringement of the Patents-in-Suit.
                          3                                               PARTIES
                          4             6.    Plaintiff Broadcom Corporation is a California corporation
                          5    headquartered at 1320 Ridder Park Drive, San Jose, California 95131. Broadcom
                          6    Corp. maintains offices within the Central District of California at 15101 Alton
                          7    Parkway, Irvine, California 92618. Broadcom Corp. is an indirect subsidiary of
                          8    Broadcom, Inc.
                          9             7.    Plaintiff Avago Technologies International Sales Pte. Ltd. is a
                    10         corporation formed under the laws of Singapore with places of business at 1320
                    11         Ridder Park Dr., San Jose, California 95131 and 1 Yishun Avenue 7, Singapore
                    12         768923. Avago is also an indirect subsidiary of Broadcom, Inc.
                    13                  8.    Defendant Netflix, Inc. is a Delaware corporation that maintains its
                    14         principal place of business and global headquarters at 100 Winchester Circle, Los
                    15         Gatos, 95032.
                    16                  9.    Netflix maintains regular and established places of business in this
                    17         District, including an office at 5808 Sunset Blvd., Los Angeles, CA 90028, where
                    18         Netflix employs hundreds of people. According to Netflix’s website, the Los
                    19         Angeles office “is the entertainment hub for Netflix with teams such as Content,
                    20         Legal, Marketing & Publicity and is located on the Sunset Bronson Studio Lot
                    21         where a variety of Netflix content is created.” 1
                    22                  10.   Netflix may be served through its registered agent for service of
                    23         process in California: CT Corporation System, 818 W. Seventh St, Suite 930, Los
                    24         Angeles, CA 90017.
                    25                  11.   Netflix claims to be a global leader in streaming digital video content.
                    26         Netflix streams videos of various types, such as films and television series, to over
                    27
                    28         1
                                   https://jobs.netflix.com/locations/los-angeles-california
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW           692\3399782                                 -3-
 SAN JO SE   PALO AL TO
                               COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 4 of 92 Page ID #:4



                          1    158 million paid members in over 190 countries. Upon information and belief,
                          2    Netflix designs, operates, tests, manufactures, uses, offers for sale, sells, and/or
                          3    imports into the United States—including into the Central District of California—
                          4    internet video streaming software, systems, and services that generate billions of
                          5    dollars of revenue for Netflix each year.
                          6                                   JURISDICTION AND VENUE
                          7             12.   The Broadcom Entities bring this civil action for patent infringement
                          8    under the Patent Laws of the United States, 35 U.S.C. § 1 et. seq., including 35
                          9    U.S.C. §§ 271, 281-285. This Court has subject matter jurisdiction over this action
                    10         pursuant to 28 U.S.C. §§ 1331 and 1338.
                    11                  13.   The Broadcom Entities’ claims for relief arise, at least in part, from
                    12         Netflix’s business contacts and other activities in the State of California and in this
                    13         District. Upon information and belief, Netflix has committed acts of infringement
                    14         within this District and the State of California by making, using, selling, offering
                    15         for sale, and/or importing into the United States and this District products, systems,
                    16         and services that infringe one or more claims of the Patents-in-Suit as set forth
                    17         herein. Further, Netflix induces others within this District to infringe one or more
                    18         claims of the Patents-in-Suit.
                    19                  14.   Venue is proper in this district and division under 28 U.S.C. §§
                    20         1391(b)-(d) and 1400(b) because Netflix has committed acts of infringement in the
                    21         Central District of California and has a regular and established physical place of
                    22         business in Los Angeles, part of the Central District. Upon information and belief,
                    23         Netflix employs engineers and technical professionals of many disciplines at its Los
                    24         Angeles facility.
                    25                                          FACTUAL BACKGROUND
                    26                  15.   Henry Samueli and Henry Nicholas founded Broadcom in 1991 in Los
                    27         Angeles, California. Since then, Broadcom has grown to be a global technology
                    28         company that produces category-leading semiconductor and infrastructure software
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW           692\3399782                                 -4-
 SAN JO SE   PALO AL TO
                               COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 5 of 92 Page ID #:5



                          1    solutions. Among other things, Broadcom provides one of the industry’s broadest
                          2    portfolios of highly integrated semiconductor chips that seamlessly deliver voice,
                          3    video, data, and multimedia connectivity in the home, office, and mobile
                          4    environments. From its headquarters in San Jose, California, Broadcom has
                          5    expanded its footprint across the United States and around the world, employing
                          6    thousands of individuals globally and in the United States. An overview of
                          7    Broadcom’s history can be found on its website at:
                          8    https://www.broadcom.com/company/about-us/company-history/.
                          9             16.   Broadcom’s continued success depends in substantial part upon its
                    10         constant attention to research and development. Broadcom and its subsidiaries
                    11         spend billions of dollars on research and development for their products each year.
                    12         Because of this focus, Broadcom has produced a wide range of novel technologies
                    13         and inventions that are directed to advancements in, among other things,
                    14         semiconductor design and digital communications, digital content distribution,
                    15         enterprise and data center networking, home connectivity, set top boxes,
                    16         infrastructure software, and other technologies integral to business and consumer
                    17         settings across the United States and throughout the world.
                    18                  17.   Broadcom relies on the patent system as an important part of its
                    19         intellectual property program to protect the valuable technology and inventions
                    20         resulting from its research and development efforts. The Broadcom Entities and
                    21         their related entities have tens of thousands of patents in the United States and
                    22         abroad.
                    23                  18.   In addition to their internally developed inventions and associated
                    24         intellectual property, the Broadcom group of companies have acquired technology
                    25         and intellectual property through mergers and acquisition with other major
                    26         technology companies, such as the Avago family of companies, LSI, Brocade, CA,
                    27         Inc. (formerly known as Computer Associates International, Inc.), and Symantec’s
                    28         enterprise business.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW           692\3399782                               -5-
 SAN JO SE   PALO AL TO
                               COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 6 of 92 Page ID #:6



                          1             19.   As explained in detail below, Netflix has built its familiar video
                          2    streaming business, in part, on the Broadcom Entities’ patented technology. Netflix
                          3    relies on this technology for crucial aspects of the Netflix streaming service. This
                          4    includes, for example, the Netflix systems used to ensure effective and reliable
                          5    delivery of streaming content with minimal interruptions, to ensure the efficient use
                          6    of Netflix server resources, and to encode Netflix streaming content in a format
                          7    compatible with a large percentage of the client devices (e.g., computers, smart
                          8    TVs) used to access the Netflix service.
                          9             20.   In doing so, Netflix has caused, and continues to cause, substantial and
                    10         irreparable harm to the Broadcom Entities. For instance, the Broadcom Entities sell
                    11         semiconductor chips used in the set top boxes that enable traditional cable
                    12         television services. Upon information and belief, as a direct result of the on-
                    13         demand streaming services provided by Netflix, the market for traditional cable
                    14         services that require set top boxes has declined, and continues to decline, thereby
                    15         substantially reducing Broadcom’s set top box business.
                    16                  21.   For instance, it is widely reported that the rise of on-demand video
                    17         streaming services such as Netflix has concurrently lead to a decrease in demand
                    18         for traditional cable services. As an example, Variety reported in February 2019
                    19         that “[t]he five biggest U.S. pay-television providers saw their traditional subscriber
                    20         rolls shrink 4.2% in 2018, as they collectively lost around 3.2 million customers for
                    21         the year. That’s an acceleration from estimated sector-wide declines of 3.7% in
                    22         2017 and 2% in 2016.” The article attributes the loss in part to a migration of
                    23         customers to Netflix.2
                    24                  22.   Upon information and belief, Netflix could not displace traditional
                    25         cable television services, or could not do so as effectively, without the use of the
                    26
                    27
                               2
                                https://variety.com/2019/biz/news/cord-cutting-2018-accelerate-us-pay-tv-
                    28         subscribers-1203138404/
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW           692\3399782                                -6-
 SAN JO SE   PALO AL TO
                               COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 7 of 92 Page ID #:7



                          1    Broadcom Entities’ patented technology, which—as explained above—enable
                          2    critical aspects of Netflix’s systems.
                          3             23.   Netflix is aware of the Broadcom Entities’ patent portfolio, including
                          4    specifically nearly all the patents asserted in this Complaint, based on
                          5    communications between Netflix and the Broadcom Entities. Representatives of
                          6    the Broadcom Entities have repeatedly attempted to engage Netflix in licensing
                          7    discussions. As part of these attempts, the Broadcom Entities informed Netflix of
                          8    its infringement of the patents asserted in this Complaint (with the exception of the
                          9    ’283 Patent) on or about September 26, 2019, and the parties engaged in in-person
                    10         discussions on October 24, 2019. Netflix did not dispute the infringement
                    11         presentations Broadcom provided to Netflix, or otherwise assert that it did and does
                    12         not infringe the patents identified to Netflix. Unfortunately, Netflix declined to
                    13         agree to terms for a license for its use of the Broadcom Entities’ patents and
                    14         technology, and declined to present a counteroffer to license terms offered by the
                    15         Broadcom Entities.
                    16                  24.   Left with no other choice, the Broadcom Entities bring this action to
                    17         protect their rights and their investment in the research and development of novel
                    18         technologies.
                    19                                     FIRST CLAIM FOR RELIEF
                    20                              (Infringement of U.S. Patent No. 7,266,079)
                    21                  25.   The Broadcom Entities reallege and incorporate by reference the
                    22         allegations of paragraphs 1-24 set forth above.
                    23                  26.   The ʼ079 Patent, entitled “Dynamic Network Load Balancing Over
                    24         Heterogeneous Link Speed,” was duly and legally issued on September 4, 2007
                    25         from a patent application filed on July 2, 2001, with Kan Frankie Fan as the named
                    26         inventor. A copy of the ʼ079 Patent is attached hereto as Exhibit A.
                    27                  27.   The ʼ079 Patent claims priority from U.S. Provisional Application No.
                    28         60/233,338, filed on September 18, 2000.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW           692\3399782                               -7-
 SAN JO SE   PALO AL TO
                               COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 8 of 92 Page ID #:8



                          1             28.   The ʼ079 Patent was assigned to Avago, which currently holds all
                          2    substantial rights, title, and interest in and to the ʼ079 Patent.
                          3             29.   Pursuant to 35 U.S.C. § 282, the ʼ079 Patent is presumed valid.
                          4             30.   The ʼ079 Patent is directed to an improvement in the functionality of
                          5    networked computer systems by “balancing data flow there through.”3 Specifically,
                          6    the ʼ079 Patent’s claims describe a new approach for balancing transmission unit
                          7    traffic over the multiple heterogeneous links that often connect computing
                          8    platforms in a computer network.
                          9             31.   The ʼ079 Patent addresses a specific technical problem that arose in
                    10         the computer networking environment as the networks grew ever larger and more
                    11         complex, and as users sought to transmit ever greater volumes of data across these
                    12         networks. As the ʼ079 Patent states, “[t]he present invention relates to
                    13         communications apparatus and methods, particularly to computer networking
                    14         apparatus and methods, and more particularly to computer networking apparatus
                    15         and methods for balancing data flow there through.” 4
                    16                  32.   As the ʼ079 Patent explains, “[a] common problem in communication
                    17         networks is maintaining efficient utilization of network resources, particularly with
                    18         regard to bandwidth, so that data traffic is efficiently distributed over the available
                    19         links between sources and destinations.”5 “Prior art solutions include apparatus and
                    20         methods that balance data traffic over homogeneous (same-speed) links between
                    21         heterogeneous or homogeneous computing platforms (servers, clients, etc.).”6
                    22         However, “[i]ncreasingly, high-performance computing platforms communicate
                    23         with other computers, routers, switches, and the like, using multiple links which,
                    24         for a variety of reasons, may operate at disparate link speeds.”7 “For
                    25
                    26         3
                               4
                                   ʼ079 Patent, 1:17-21.
                                   Id.
                    27         5
                                   Id. at 1:23-27.
                               6
                                   Id. at 1:27-30.
                    28         7
                                   Id. at 1:30-34.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW           692\3399782                                -8-
 SAN JO SE   PALO AL TO
                               COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 9 of 92 Page ID #:9



                          1    example…adverse network conditions may degrade the performance of one or
                          2    more links, effectively presenting a heterogeneous-link-speed environment to the
                          3    server and its link partner(s).” 8
                          4             33.    Accordingly, a need existed for a means to “dynamically balance
                          5    transmission unit traffic in a heterogeneous-link-speed environment” in order to
                          6    improve the functionality of computer networks. 9
                          7             34.    The ʼ079 Patent claims specific, novel ways to solve these technical
                          8    problems by dynamically balancing data traffic in a computer networking
                          9    environment with heterogeneous link speeds. The claims of the ʼ079 Patent are
                    10         directed to new, improved methods and apparatuses for balancing transmission unit
                    11         traffic over networks links.
                    12                  35.    The methods and apparatuses described in the ʼ079 Patent improve the
                    13         functionality of a networked computer system by balancing the data traffic among
                    14         network links having different speeds, capabilities, and congestion levels that
                    15         connect the various networked elements, thereby improving the speed and
                    16         efficiency of data transmission within the network.
                    17                  36.    Claim 1 of the ʼ079 Patent reads as follows:
                    18                         A method for balancing transmission until traffic over
                    19                         network links, comprising:

                    20                               a. disposing transmission units into flows;
                    21                               b. grouping flows into first flow lists, each of the
                                                     first flow lists corresponding to a selected network
                    22
                                                     link;
                    23
                                                     c. determining a traffic metric representative of a
                    24                               traffic load on the selected network link;
                    25                               d. responsive to the traffic metric, regrouping flows
                    26                               into second flow lists corresponding to the selected
                    27
                               8
                                   Id. at 1:34-40.
                    28         9
                                   Id. at 1:40-43.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW           692\3399782                                -9-
 SAN JO SE   PALO AL TO
                               COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 10 of 92 Page ID #:10



                          1                          network link, the regrouping balancing the
                                                     transmission unit traffic among the network links;
                          2                          and
                          3
                                                     e. transmitting the respective second flow list over
                          4                          the respective selected network link.
                          5
                                         37.   Netflix directly infringes the ‘079 Patent by making, using, offering to
                          6
                                sell, and/or selling in the United States its Netflix service, which utilizes the
                          7
                                inventions claimed in the ‘079 Patent to balance traffic over Netflix’s systems,
                          8
                                including its content delivery network (“CDN”).
                          9
                                         38.   Netflix directly infringes at least independent claim 1 of the ʼ079
                    10
                                Patent at least in the exemplary manner described below.
                    11
                                         39.   Netflix utilizes the claimed “method for balancing transmission unit
                    12
                                traffic over network links,” including, for instance, in operating its CDN, which
                    13
                                Netflix uses to stream video content to its subscribers over the internet. The Netflix
                    14
                                CDN is illustrated in the following diagram.
                    15
                    16
                    17
                    18
                    19
                    20
                    21
                    22
                    23
                    24
                    25
                    26
                    27
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 10 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 11 of 92 Page ID #:11



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                    10
                    11
                    12
                    13
                    14                   Source: https://openconnect.netflix.com/Open-Connect-Overview.pdf
                    15                   40.   The Netflix CDN comprises hardware that Netflix builds and operates.
                    16          Additionally, for some aspects of its CDN, Netflix uses hardware produced and
                    17          maintained by third parties, including cloud computing services purchased from
                    18          third parties. However, all the infringing technologies discussed in this Complaint
                    19          are developed and controlled by Netflix, including though the use of Netflix
                    20          software that controls the relevant functions performed by the underlying hardware.
                    21                   41.   Notably, in apparent recognition that its cloud computing services
                    22          could be used by a customer to infringe any number of patents involving a
                    23          computer as part of a larger system or process, the AWS standard customer
                    24          agreement makes clear that AWS has no liability for patent infringement claims
                    25          arising from infringement by combinations of AWS’s services with any other
                    26          product, service, software, data, content or method. 10
                    27
                    28          10
                                     https://aws.amazon.com/agreement/
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 11 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 12 of 92 Page ID #:12



                          1              42.   As part of its CDN, Netflix created, operates, uses, and maintains a
                          2     “global network of thousands of [Open Connect Appliances],” also known as
                          3     OCAs. 11
                          4              43.   As Netflix explains, “[t]he building blocks of Open Connect are our
                          5     suite of purpose-built server appliances, called Open Connect Appliances (OCAs).
                          6     These appliances store and serve our video content, with the sole responsibility of
                          7     delivering playable bits to client devices as fast as possible.” 12
                          8              44.   Within the CDN, Netflix stores the TV programs and movies that it
                          9     offers as a series of files. Netflix’s customers access Netflix’s video content
                    10          through different types of client devices, including digital televisions, desktop
                    11          computers, laptop computers, tablet computers, and mobile phones. These client
                    12          devices are produced by many different manufacturers. Each device has certain
                    13          capabilities and features that require media to be delivered in a specific form or
                    14          format. In many cases, the media format used by one device cannot be used by
                    15          another. Thus, Netflix must make its content available to its users in many different
                    16          formats.
                    17                   45.   In Netflix’s words:
                    18                         Every title is encoded in multiple formats, or encoding
                                               profiles. For example, some profiles may be used by iOS
                    19                         devices and others for a certain class of Smart TVs.
                                               There are video profiles, audio profiles, and profiles that
                    20                         contain subtitles. Each audio and video profile is encoded
                                               into different levels of quality. For a given title, the
                    21                         higher the number of bits used to encode a second of
                                               content (bps), the higher the quality….Finally, we have
                    22                         audio profiles and subtitles available in multiple
                                               languages. So for each quadruple of (title, encoding
                    23                         profile, bitrate, language), we need to cache one or more
                                               files. As an example, for streaming one episode of The
                    24                         Crown we store around 1,200 files!”13
                    25
                    26
                                11
                                  https://openconnect.netflix.com/Open-Connect-Overview.pdf
                    27          12
                                  Id.
                                13
                                  https://medium.com/netflix-techblog/content-popularity-for-open-connect-
                    28          b86d56f613b
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 12 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 13 of 92 Page ID #:13



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                                         Source: https://medium.com/netflix-techblog/content-popularity-for-open-
                    10
                                         connect-b86d56f613b
                    11
                                         46.   Netflix divides these various content files “into 2 second intervals
                    12
                                called segments.” 14
                    13
                                         47.   When a Netflix subscriber initiates a playback session by selecting a
                    14
                                movie or TV show and pressing “play,” the Netflix system “determine[s] which
                    15
                                specific files are required to handle the playback request—taking individual client
                    16
                                characteristics and current network conditions into account.” The Netflix system
                    17
                                “pick[s] OCAs that the requested files should be served from [and] generates URLs
                    18
                                for these OCAs…” The Netflix system then “hand[s] over URLs of the appropriate
                    19
                                OCAs to the client device, and the OCA begins to serve the requested files.”
                    20
                    21
                    22
                    23
                    24
                    25
                    26
                    27
                    28          14
                                     https://cs.uwaterloo.ca/~brecht/papers/iiswc-netflix-wload-2016.pdf
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 13 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 14 of 92 Page ID #:14



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                    10
                    11                   Source: https://openconnect.netflix.com/Open-Connect-Overview.pdf
                    12                   48.   Additionally, when a Netflix subscriber initiates a playback session,
                    13          the Netflix system provides the “offsets of all segments.”15 The client device,
                    14          under the control of the Netflix application running on it, then “downloads segment
                    15          offsets and content from multiple content files with different bit rates, then selects a
                    16          starting bitrate that can be supported by available network bandwidth.”16 The client
                    17          device “continue[s] to download segments sequentially from the same file unless
                    18          network or server conditions change (which may result in switching to a different
                    19          bit rate) or a user event occurs (e.g., stopping or skipping to a new title position).”17
                    20          Thus, and as described further below, Netflix performs a “method for balancing
                    21          transmission unit traffic over network links.”
                    22                   49.   The Netflix CDN also “dispos[es]” the “transmission units into flows.”
                    23          For example, each of the above-described “segments” of a given content file
                    24          constitutes a “transmission unit.” The Netflix system “disposes” these segments
                    25
                    26
                    27          15
                                     https://cs.uwaterloo.ca/~brecht/papers/iiswc-netflix-wload-2016.pdf
                                16
                                     Id.
                    28          17
                                     Id.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 14 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 15 of 92 Page ID #:15



                          1     “into flows” by causing the transmission of a series of segments of various content
                          2     files—each a “flow”—to each of its many subscribers during the playback process.
                          3              50.   Upon information and belief, the Netflix system also “group[s] flows
                          4     into first flow lists,” each of which “correspond[] to a selected network link.” For
                          5     example, each of the OCAs, and each of the file locations specified by a URL
                          6     within each OCA, constitutes a “network link.” As explained above, Netflix
                          7     “group[s] flows into first flow lists” by picking the OCAs, and the specific files
                          8     thereon, that are used to serve a subscriber’s playback request for each of the
                          9     thousands, or even millions, of subscribers streaming video content from Netflix at
                    10          any given moment.
                    11                   51.   On information and belief, the Netflix system “determin[es] a traffic
                    12          metric representative of a traffic load on the selected network link.”
                    13                   52.   For example, during the playback process, which is controlled by
                    14          Netflix software, the client device “intelligently selects which OCA to use.”18 “It
                    15          does this by testing the quality of the network connection to each OCA. It will
                    16          connect to the fastest, most reliable OCA first.”19 “The client keeps running these
                    17          tests throughout the video streaming process. The client probes to figure out the
                    18          best way to receive content from the OCA.” 20 Thus, through the playback process,
                    19          the Netflix system “determin[es] a traffic metric representative of a traffic load on
                    20          the selected network link.”
                    21                   53.   Upon information and belief, “responsive to the traffic metric,” the
                    22          Netflix system “regroup[s] flows into second flow lists corresponding to the
                    23          selected network link.” For example, over the course of the playback session, the
                    24          Netflix system redirects flows of content to different OCAs and to different URLs
                    25          on the same OCA (i.e., different “network links”), thereby regrouping the original
                    26
                                18
                                   http://highscalability.com/blog/2017/12/11/netflix-what-happens-when-you-
                    27          press-play.html
                                19
                                   Id.
                    28          20
                                   Id.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 15 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 16 of 92 Page ID #:16



                          1     set of flows from a given OCA or URL to various Netflix subscribers to a second
                          2     flow list corresponding to a different OCA or URL.
                          3              54.   The “regrouping balanc[es] the transmission unit traffic upon the
                          4     network links.” This element is illustrated, for example, by Figure 6B of the ʼ079
                          5     Patent.
                          6
                          7
                          8
                          9
                    10
                    11
                    12
                    13
                    14                   Source: ʼ079 Patent Specification, Fig. 6B.
                    15                   55.   For instance, the Netflix system moves flows of content files from one
                    16          OCA or URL to another less congested or otherwise more favorable OCA or URL.
                    17                   56.   Finally, the Netflix system “transmit[s] the respective second flow list
                    18          over the respective selected network link.” For instance, after the Netflix system
                    19          transitions a flow of a particular content files to a new OCA or URL, it continues to
                    20          transmit all the flows then associated with the new OCA or URL (i.e., the “second
                    21          flow list”) to the many Netflix subscribers who are streaming from that OCA or
                    22          URL at that moment.
                    23                   57.   At least as of on or around September 26, 2019, when the Broadcom
                    24          Entities informed Netflix of its infringement of the ’079 Patent, and by no later than
                    25          the filing and service of this Complaint, Netflix has had knowledge of the ’079
                    26          Patent and Netflix’s infringement thereof.
                    27
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 16 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 17 of 92 Page ID #:17



                          1              58.   Netflix also has induced, and continues to induce, direct infringement
                          2     by third-parties of at least claim 1 of the ’079 Patent, at least in the exemplary
                          3     manner described above, by actively encouraging their use of the Netflix system, in
                          4     violation 35 U.S.C. § 271(b).
                          5              59.   For example, Netflix has induced, and continues to induce, direct
                          6     infringement of the ’079 Patent by customers and/or end users of client devices
                          7     enabled with the Netflix software application and service. In light of the notice the
                          8     Broadcom Entities provided to Netflix of its infringement of the ’079 Patent,
                          9     Netflix knows that it provides and specifically intends to provide an application for
                    10          use on client devices that, when used as intended with the Netflix streaming service,
                    11          meets the limitations of claim 1 of the ’079 Patent. Netflix knows and specifically
                    12          intends that its end users practice the method recited in claim 1 of the ’079 Patent,
                    13          when using its application and service as intended.
                    14                   60.   Netflix’s knowing and willful infringement of the ʼ079 Patent has
                    15          caused and continues to cause damage to Avago, and Avago is entitled to recover
                    16          damages sustained as a result of Netflix’s wrongful acts in an amount subject to
                    17          proof at trial.
                    18                                    SECOND CLAIM FOR RELIEF
                    19                               (Infringement of U.S. Patent No. 8,259,121)
                    20                   61.   The Broadcom Entities reallege and incorporate by reference the
                    21          allegations of paragraphs 1-60 set forth above.
                    22                   62.   The ʼ121 Patent, entitled “System and Method for Processing Data
                    23          Using a Network,” was duly and legally issued on September 4, 2012 from a patent
                    24          application filed on December 9, 2002, with Patrick Law, Darren Neuman, and
                    25          David Baer as the named inventors. A copy of the ʼ121 Patent is attached hereto as
                    26          Exhibit B.
                    27                   63.   The ʼ121 Patent claims priority from U.S. Provisional Application No.
                    28          60/420,151, filed on December 9, 2002.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 17 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 18 of 92 Page ID #:18



                          1              64.   The ʼ121 Patent is assigned to Avago, which currently holds all
                          2     substantial rights, title, and interest in and to the ʼ121 Patent.
                          3              65.   Pursuant to 35 U.S.C. § 282, the ʼ121 Patent is presumed valid.
                          4              66.   The claims in the ʼ121 Patent are directed to an improved network for
                          5     processing audio and visual (“A/V”) data. Specifically, the inventions described in
                          6     the ‘121 Patent “relate[] to a network environment in an A/V system using ‘A/V
                          7     decoders,’ where the A/V decoders are adapted to process, decode or decompress
                          8     one or more input data streams.” 21
                          9              67.   The ʼ121 Patent addresses a technical problem in a network processing
                    10          A/V data. The patent explains that, at the time, there was “no known
                    11          methodological way to connect video processing modules in A/V systems” and that
                    12          “[m]ost video processing modules are connected together in an ad hoc manner.” 22
                    13          “As a result, such ad-hoc designs may become difficult to verify, maintain and
                    14          reuse. Furthermore, as more features are added to the A/V systems…it becomes
                    15          more difficult to design and integrate such features properly.” 23 Thus, there was “a
                    16          need for an architecture or network that provides a general model illustrating how
                    17          various video processing modules behave in a network environment.” 24
                    18                   68.   The ʼ121 Patent describes and claims solutions to these technical
                    19          problems, including specific, novel networks with various features for processing
                    20          A/V data.
                    21                   69.   The inventions described and claimed in the ʼ121 Patent have
                    22          applications both in the context of the ecosystem within a computer or device, and
                    23          in more complex computer networking environments. Indeed, as the patent
                    24          explains, “[m]any modifications and variations of the present invention are possible
                    25          in light of the above teachings. Thus, it is to be understood that, within the scope of
                    26
                                21
                                     ʼ121 Patent, 1:42-45.
                    27          22
                                     Id. at 1:48-51.
                                23
                                     Id. at 1:51-55.
                    28          24
                                     Id. at 1:66-2:1.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                - 18 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 19 of 92 Page ID #:19



                          1     the appended claims, the invention may be practiced otherwise than as described
                          2     hereinabove.”25
                          3              70.   The systems and methods described in the ’121 Patent improve the
                          4     functionality of computer networks used for processing A/V data by providing a
                          5     new, advantageous approach for those networks.
                          6              71.   Claim 1 of the ‘121 Patent is directed to:
                          7                    A network for processing data configured by a controller
                                               to form at least one display pipeline therein by
                          8                    dynamically selecting use of at least two selectable nodes
                                               from a plurality of selectable nodes and dynamically
                          9                    concatenating the selected at least two selectable nodes in
                                               the network together, wherein said at least one display
                    10                         pipeline has an independent data rate and a flow control
                                               module enables said independent data rate.
                    11
                    12                   72.   Netflix directly infringes the ’121 Patent by making, using, offering to
                    13          sell, and/or selling in the United States its Netflix service, which utilizes Netflix’s
                    14          CDN to process audio and visual data in a manner that uses the inventions claimed
                    15          in the ʼ121 Patent.
                    16                   73.   Upon information and belief, Netflix directly infringes at least
                    17          independent claim 1 of the ’121 Patent at least in the exemplary manner described
                    18          below.
                    19                   74.   Netflix created, operates, and maintains a “network for processing
                    20          data,” namely, the CDN that Netflix uses to stream TV shows and movies to its
                    21          subscribers over the internet, as illustrated in the following diagram from Netflix’s
                    22          website.
                    23
                    24
                    25
                    26
                    27
                    28          25
                                     Id. at 16:26-30.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 19 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 20 of 92 Page ID #:20



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                    10
                    11
                    12
                    13
                                         Source: https://openconnect.netflix.com/Open-Connect-Overview.pdf
                    14
                                         75.   As shown in this diagram, the Netflix CDN consists of three primary
                    15
                                groups of systems: (1) the client devices (e.g., smart TVs, computers, mobile
                    16
                                phones, etc.) that subscribers use to access the Netflix service with the help
                    17
                                software applications that were developed, or partially developed, by Netflix; (2)
                    18
                                the Netflix “backend” (referred to in the diagram as “Netflix in AWS”), which
                    19
                                receives and processes requests for video content from subscribers; and (3) a
                    20
                                network of OCAs, which deliver the video content to the client devices.
                    21
                                         76.   The CDN is “configured by a controller.” For example, when a
                    22
                                Netflix user requests playback of a particular title (e.g., a film or television
                    23
                                program) using a client device, various computing resources in the Netflix backend,
                    24
                                which are controlled by Netflix and run Netflix applications: (1) receive the
                    25
                                request; (2) determine which specific streaming assets are required to handle the
                    26
                                request, taking individual client characteristics and current network conditions into
                    27
                                account; (3) pick OCAs from which the requested streaming assets should be
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 20 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 21 of 92 Page ID #:21



                          1     streamed; and (4) provide a manifest file to the client device containing URLs that
                          2     specify the OCAs and files needed for the playback process. Thus, Netflix
                          3     “controls” the path of the delivery of video content through the network to the
                          4     Netflix subscribers.
                          5
                          6
                          7
                          8
                          9
                    10
                    11
                    12
                    13
                    14
                    15                   Source: https://openconnect.netflix.com/Open-Connect-Overview.pdf

                    16                   77.   Through this process, Netflix’s content delivery network forms “at

                    17          least one display pipeline therein.” For example, the CDN establishes a link

                    18          between the client device and one or more Netflix OCAs through which the various

                    19          video, audio, and other files associated with the requested title are streamed.

                    20
                    21
                    22
                    23
                    24
                    25
                    26
                    27
                                         Source: https://openconnect.netflix.com/Open-Connect-Overview.pdf
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 21 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 22 of 92 Page ID #:22



                          1              78.   The “at least one display pipeline” within Netflix’s content delivery
                          2     network is formed “by dynamically selecting use of at least two selectable nodes
                          3     from a plurality of selectable nodes.” For instance, the content delivery network
                          4     forms display pipelines between the millions of client devices streaming content
                          5     from Netflix all over the world (“nodes”) and the numerous OCAs and other servers
                          6     that Netflix uses to stream its content (also “nodes”).
                          7              79.   The OCAs periodically receive new content files—which constitute
                          8     video and other A/V data—from Netflix’s backend systems and from other OCAs.
                          9
                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                    18
                    19
                    20
                    21                   Source: https://medium.com/netflix-techblog/netflix-and-fill-c43a32b490c0.
                    22          The above image, generated by Netflix, shows that the Netflix local OCAs are
                    23          supplied with content by Netflix’s more remotely-located repository of content
                    24          titles, which creates and stores copies of content that has been transcoded into
                    25          various formats, as discussed above.
                    26
                    27
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 22 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 23 of 92 Page ID #:23



                          1              80.   Upon receiving a request for content from a client device, the OCA
                          2     identifies and sends the specific files requested, filtering out the requested data from
                          3     the numerous content files contained on the OCA.
                          4              81.   Netflix’s selection of nodes is “dynamic.” For example, Netflix’s
                          5     “control plane services in AWS take the data that the OCAs report and use it to
                          6     steer clients via URL to the most optimal OCAs given their file availability, health,
                          7     and network proximity to the client.” 26
                          8              82.   As another example of Netflix’s “dynamic” selection of nodes, the
                          9     Netflix system switches between content files and OCAs during the playback
                    10          process in order to automatically adapt to network conditions and user behavior.
                    11          This “dynamic” selection is illustrated, for instance, in Figure 1 of Characterizing
                    12          the Workload of a Netflix Streaming Video Server, a technical paper published in
                    13          2016 by the Institute of Electrical and Electronics Engineers (“IEEE”). The portion
                    14          of this figure within the green box shows, for example, how the Netflix system
                    15          switches between different video quality levels, or bit rates (shown on the vertical
                    16          axis), over the course of a Netflix content streaming session (i.e., a Netflix user
                    17          watching a movie or television program). The horizontal axis shows the elapsed
                    18          time (in minutes) of that streaming session:
                    19
                    20
                    21
                    22
                    23
                    24
                    25
                    26
                    27
                    28          26
                                     https://openconnect.netflix.com/Open-Connect-Overview.pdf.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                - 23 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 24 of 92 Page ID #:24



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                    10
                    11
                    12
                                         Source: https://cs.uwaterloo.ca/~brecht/papers/iiswc-netflix-wload-2016.pdf
                    13
                    14                   83.   The “dynamic” selection has also been described by other third parties
                    15          that have analyzed the Netflix system, further illustrating how the Netflix
                    16          application on the client device—which Netflix controls—automatically switches
                    17          between URLs for video files and OCAs over the course of the streaming session:
                    18
                    19
                    20
                    21
                    22
                                         Source: http://highscalability.com/blog/2017/12/11/netflix-what-happens-
                    23
                                         when-you-press-play.html
                    24
                    25                   84.   Thus, the “selection” of the “nodes” is “dynamic” because the node
                    26          selection can be performed instantaneously, upon the occurrence of network events,
                    27          and in response to changing network conditions.
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 24 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 25 of 92 Page ID #:25



                          1              85.   The Netflix CDN “dynamically concatenate[s] the selected at least two
                          2     selectable nodes in the network together.” The selectable nodes are “concatenated”
                          3     when a connection is established between them. For example, as explained above,
                          4     the network establishes a connection between the client device and the best suited
                          5     OCA through which the client device, using instructions provided by Netflix,
                          6     “requests files from the OCA” and the “OCA serves files to the Client Device.”
                          7
                          8
                          9
                    10
                    11
                    12
                    13
                    14
                    15                   Source: https://openconnect.netflix.com/Open-Connect-Overview.pdf

                    16                   86.   As another example of the dynamic nature of the concatenation, the

                    17          client devices within Netflix’s CDN continue to “adapt to the quality of the

                    18          network…If the network quality declines, the client lowers video quality to match.

                    19          The client will switch to another OCA when the quality declines too much.” 27

                    20                   87.   The “display pipeline” within the Netflix CDN “has an independent

                    21          data rate.” For example, on information and belief, the data rate of the transmission

                    22          of streaming content between the OCA and a given client device within the Netflix

                    23          system varies from and is not dependent upon the data rate of the transmission of

                    24          streaming content to the other client devices on the system.

                    25                   88.   The Netflix CDN includes a “flow control module” that “enables said

                    26          independent data rate.” For instance, the Netflix client serves as a “flow control

                    27
                                27
                                  http://highscalability.com/blog/2017/12/11/netflix-what-happens-when-you-
                    28          press-play.html
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 25 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 26 of 92 Page ID #:26



                          1     module” by “pacing” the transmission of the streaming content from the Netflix
                          2     OCA. As illustrated below, the client device—under the control of the Netflix
                          3     application operating thereon—controls the pace at which it downloads content
                          4     files from Netflix to address network issues and user events, including by varying
                          5     the bit rate of the streaming video content.
                          6
                          7
                          8
                          9
                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                    18
                    19
                    20
                    21
                    22
                    23                   Source: https://cs.uwaterloo.ca/~brecht/papers/iiswc-netflix-wload-2016.pdf
                    24                   89.   Upon information and belief, Netflix controls the playback
                    25          functionality of the client devices used by subscribers to access the Netflix service.
                    26          As an example, for many client devices, Netflix develops the software applications
                    27          used to access the Netflix service. Even in client devices for which Netflix does not
                    28          develop the application, it “still has control because it controls the software
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 26 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 27 of 92 Page ID #:27



                          1     development kit (SDK).” The SDK “is a set of software development tools that
                          2     allows the creation of applications. Every Netflix app…plays video using the
                          3     SDK.” “By controlling the SDK, Netflix can adapt consistently and transparently
                          4     to slow networks, failed OCAs, and any other problems that may arise.”28
                          5              90.   In Netflix’s words , “[t]he SDK provides a rendering engine,
                          6     JavaScript runtime, networking, security, video playback, and other platform
                          7     hooks.”
                          8
                          9
                    10
                    11                   Source: https://medium.com/netflix-techblog/building-the-new-netflix-
                    12                   experience-for-tv-920d71d875de
                    13                   91.   At least as of on or around September 26, 2019, when the Broadcom
                    14          Entities informed Netflix of its infringement of the ’121 Patent, and by no later than
                    15          the date of this Complaint, Netflix has had knowledge of the ’121 Patent and that its
                    16          video streaming service infringes the ’121 Patent.
                    17                   92.   In addition to direct infringement, Netflix indirectly infringes the ʼ121
                    18          Patent in violation of 35 U.S.C. 271(b) by inducing third-parties to directly infringe
                    19          at least claim 1 of the ’121 Patent, at least in the exemplary manner described
                    20          above. Netflix has induced, and continues to induce, direct infringement of the
                    21          ’121 Patent by customers and/or end users of infringing client devices enabled with
                    22          the Netflix software application and service. Netflix knows that it provides and
                    23          specifically intends to provide an application for use on client devices that, when
                    24          used as intended with the Netflix streaming service, meets the limitations of claim 1
                    25          of the ’121 Patent. Netflix knows and specifically intends that its customers and
                    26          end users practice the system recited in claim 1 of the ’121 Patent, when using its
                    27
                                28
                                  http://highscalability.com/blog/2017/12/11/netflix-what-happens-when-you-
                    28          press-play.html
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 27 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 28 of 92 Page ID #:28



                          1     application and service as intended. As explained above, the relevant aspects of
                          2     that use, including the “playback” process for streaming content, are controlled by
                          3     Netflix software on the client devices, along with other Netflix systems.
                          4              93.   Netflix’s knowing and willful infringement of the ʼ121 Patent has
                          5     caused and continues to cause damage to Avago. Avago is entitled to recover
                          6     damages sustained as a result of Netflix’s wrongful acts in an amount subject to
                          7     proof at trial.
                          8                                 THIRD CLAIM FOR RELIEF
                          9                          (Infringement of U.S. Patent No. 8,959,245)
                    10                   94.   The Broadcom Entities reallege and incorporate by reference the
                    11          allegations of paragraphs 1-93 set forth above.
                    12                   95.   The ’245 Patent, entitled “Multiple Pathway Session Setup to Support
                    13          QoS Services” was duly and legally issued on February 17, 2015, from a patent
                    14          application filed on November 25, 2008, with Jeyhan Karaoguz and James Bennett
                    15          as the named inventors. A copy of the ʼ245 Patent is attached hereto as Exhibit C.
                    16                   96.   The ʼ245 Patent is assigned to Avago, which currently holds all
                    17          substantial rights, title, and interest in and to the ʼ245 Patent.
                    18                   97.   Pursuant to 35 U.S.C. § 282, the ʼ245 Patent is presumed valid.
                    19                   98.   The ’245 Patent is directed to an improvement in the functionality of a
                    20          communication network, such as the internet.
                    21                   99.   Specifically, the ’245 Patent’s claims are directed to a novel system
                    22          and method for delivering content to a user through a communication network, in
                    23          which a network management server determines multiple routes for delivering the
                    24          content based on a provisioning profile for the user device.29
                    25                   100. The inventions of the ’245 Patent resolve technical problems related to
                    26          delivering content through the then-existing internet network architecture. At the
                    27
                    28          29
                                     ’245 Patent, Abstract, 1:44-51, 2:13-40.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                - 28 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 29 of 92 Page ID #:29



                          1     time, the internet was becoming increasingly important as a commercial
                          2     infrastructure and there was a growing need for “massive internet based services,”
                          3     such as voice over internet protocol (“VoIP”), video-conferencing, and video
                          4     streaming. Much of the then-current internet architecture was based on the “best
                          5     effort” model. This architecture attempts to deliver all data traffic “as soon as
                          6     possible within the limits of its abilities.” However, the data packets being
                          7     transferred “can be dropped indiscriminately” in the event of network congestion.
                          8     While this approach worked well for some less time-sensitive applications, such as
                          9     email and FTP data transfer, it did not work as well for real-time multimedia
                    10          applications, such as streaming video on demand. 30
                    11                   101. In light of the growing use of high-bandwidth, time-sensitive
                    12          applications, there was a need for technologies to improve the quality of service
                    13          (“QoS”) of data transmissions over communication networks like the internet.
                    14                   102. The inventions described in the ’245 Patent address technical problems
                    15          associated with the conventional systems and methods for delivering high-quality
                    16          video, and other data, including by utilizing multiple routes among the available
                    17          routes in the communication network, thereby increasing the reliability of the data
                    18          transmission.31
                    19                   103. The ’245 Patent describes and claims specific ways to implement this
                    20          solution using a network management server capable of determining multiple routes
                    21          for delivering the data content based on a “provisioning profile,” thereby better
                    22          ensuring delivery of content over the communication network. The ’245 Patent
                    23          explains how the provisioning profile may contain information relevant to the
                    24          delivery of the content, such as preferred service types, desired quality of service,
                    25          client account information, and/or client credit information.32
                    26
                    27          30
                                     Id. at 1:19-40.
                                31
                                     See id. at 2:29-32, 2:41-45.
                    28          32
                                     Id. at 2:29-32.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 29 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 30 of 92 Page ID #:30



                          1              104. As the ’245 Patent explains, different sets of packets associated with
                          2     the data content may be transmitted over different routes amongst the multiple
                          3     available routes to, for instance, take advantage of paths that have less usage and
                          4     increase reliability. The network management server can manage and prioritize this
                          5     allocation of routes, which may involve the use of a primary route and/or one or
                          6     more secondary routes. The network management server can also enable a
                          7     “handoff” between the routes, such as when QoS degrades on the primary route.
                          8     The handoff can be seamless to the user, ensuring an uninterrupted user
                          9     experience. 33
                    10                   105. The systems and methods described and claimed in the ’245 Patent
                    11          improve the functionality of a computer network by providing a new, advantageous
                    12          approach for delivering content through the network that enables higher QoS
                    13          standards, such as those required for video-on-demand applications.
                    14                   106. Claim 1 of the ’245 Patent is directed to:
                    15                          1. A method for communication, the method comprising:
                    16                                 receiving from a user device, by a network
                    17                                 management server via a communication network,
                                                       a request for a service;
                    18
                                                       determining multiple routes for delivering content
                    19                                 associated with said requested service based on a
                    20                                 provisioning profile for said user device;

                    21                                 and delivering said content associated with said
                                                       requested service via said determined multiple
                    22                                 routes.
                    23                   107. Claim 1 thus claims a novel solution for transmitting digital media
                    24          content over a communication network via multiple routes, using a network
                    25          management server and a provisioning profile. This solution was not well-
                    26          understood, routine, or conventional at the time of the ’245 Patent because it claims
                    27
                    28          33
                                     Id. at 2:41-61.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                - 30 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 31 of 92 Page ID #:31



                          1     a new and specific improvement over the prior art. The inventions claimed in the
                          2     ’245 Patent comprise a novel arrangement of streaming content equipment that
                          3     results in a better experience for the content user with fewer interruptions.
                          4              108. Claim 3 of the ’245 Patent, which depends from claim 1, is directed to:
                          5                    3. The method according to claim 1, wherein said
                          6                    provisioning profile comprises preferred service types,
                                               desired QoS for one or more services, client account
                          7                    information, and/or client credit verification information.
                          8
                                         109. Claim 6 of the ’245 Patent, which also depends from claim 1, is
                          9
                                directed to:
                    10
                                               6. The method according to claim 1, comprising
                    11
                                               allocating via said network management server, one or
                    12                         more of said determined multiple routes based on priority.
                    13                   110. Thus, claims 3 and 6 further describe the invention’s improved method
                    14          whereby a network management server determines multiple routes for delivering
                    15          content based on a provisioning profile in response to receiving a request for
                    16          service from a user device, and then delivers that content via multiple routes based
                    17          on priority. The ordered combination of elements in each of claims 3 and 6, in
                    18          conjunction with the elements of the claims from which they depend, therefore
                    19          recite unconventional, new, and improved digital media content delivery methods
                    20          that were not well-understood at the time of the ’245 Patent.
                    21                   111. Netflix directly infringes the ’245 Patent by making, using, offering to
                    22          sell, and/or selling into the United States its Netflix service, which utilizes a
                    23          playback system that practices the inventions claimed in the ’245 Patent.
                    24                   112. Upon information and belief, Netflix directly infringes at least claims
                    25          1, 3, and 6 of the ’245 Patent, at least in the exemplary manner described below.
                    26                   113. Netflix practices a “method for communication” that involves
                    27          “receiving from a user device, by a network management server via a
                    28          communication network, a request for a service.” For example, when a Netflix user
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 31 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 32 of 92 Page ID #:32



                          1     uses the Netflix application on their TV, computer, smartphone, or other client
                          2     device to view a movie or television program, the Netflix application sends a “play”
                          3     request to Netflix’s backend systems. This represents a “request for service” from a
                          4
                          5
                          6
                          7
                          8
                          9
                    10
                    11
                    12
                    13
                    14
                    15
                    16
                                “user device.” The Netflix backend systems then determine, using Netflix-
                    17
                                developed solutions, the optimal manner in which to deliver the requested content.
                    18
                                         Source: https://openconnect.netflix.com/Open-Connect-Overview.pdf
                    19
                    20                   114. On information and belief, Netflix controls the playback process from
                    21          the client side as well. For example, as explained above, Netflix develops many of
                    22          the Netflix applications used by client devices to access the Netflix service,
                    23          including the applications for Android and iOS devices. As for the client devices
                    24          for which Netflix does not develop the application itself, it provides the software
                    25          development kit, or SDK, used to create the Netflix application. On information
                    26          and belief, the SDK includes the code responsible for the playback process.
                    27
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 32 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 33 of 92 Page ID #:33



                          1              115. Netflix’s control of the playback process at the client side is confirmed
                          2     by third party sources:
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                    10
                    11
                    12                   Source: http://highscalability.com/blog/2017/12/11/netflix-what-happens-

                    13                   when-you-press-play.html

                    14                   116. The request for service from the Netflix user’s client device is received

                    15          “by a network management server via a communication network.” For example, as

                    16          shown below, the playback request is received by the Playback Apps service within

                    17
                    18
                    19
                    20
                    21
                    22
                    23
                    24
                    25
                    26
                    27
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 33 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 34 of 92 Page ID #:34



                          1     the Netflix backend, which, on information and belief, operates on one or more
                          2     servers.
                          3              Source: https://openconnect.netflix.com/Open-Connect-Overview.pdf
                          4              117. The Netflix system also “determin[es] multiple routes for delivering
                          5     content associated with said requested service based on a provisioning profile for
                          6     said user device.” For instance, upon receiving a playback request for a specific
                          7     title from a Netflix user, the Netflix backend systems determine the video, audio,
                          8     and other files needed for playback and pick the OCAs from which these files
                          9     should be streamed to the client device. It then generates a manifest file containing
                    10          the URLs for the files and OCAs, which the Netflix system sends to the client
                    11          device.
                    12                   118. As Netflix explains:
                    13
                    14
                    15
                    16
                    17
                    18                   Source: https://openconnect.netflix.com/Open-Connect-Overview.pdf
                    19                   119. Through this process, the Netflix system will select as many as ten
                    20          different OCAs from which the requested content may be streamed:
                    21
                    22
                    23
                    24                   Source: http://highscalability.com/blog/2017/12/11/netflix-what-happens-
                    25                   when-you-press-play.html
                    26
                    27
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 34 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 35 of 92 Page ID #:35



                          1
                          2
                          3
                          4
                          5
                          6
                          7              Source: Screenshot from Netflix Application
                          8              120. On information and belief, Netflix bases its selection of OCAs and
                          9     URLs, at least in part, on a “provisioning profile” for the user device used to access
                    10          the Netflix service. For instance, upon receiving a playback request for a specific
                    11          title, the Netflix system “checks user authentication and licensing” and takes
                    12          “individual client characteristics into account” in selecting the “specific streaming
                    13          assets” required to handle the playback request and the OCAs from which they
                    14          should be streamed.
                    15
                    16
                    17
                    18
                    19
                    20
                    21
                    22
                                         Source: https://openconnect.netflix.com/Open-Connect-Overview.pdf
                    23
                                         121. As further explained in a study published by the IEEE, the client
                    24
                                device—under the control of the Netflix application—“indicates the formats of the
                    25
                                content it can play. Netflix server then sends back a manifest file based upon the
                    26
                                client request. For instance, Netflix client running on an older computer (Thinkpad
                    27
                                T60 with Windows XP) and a newer computer (MacBook with Snow Leopard)
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 35 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 36 of 92 Page ID #:36



                          1     have different capabilities and received different video downloading format and bit
                          2     rates.”34
                          3              122. The Netflix system “deliver[s] said content associated with said
                          4     requested service via said determined multiple routes.” For example, the Netflix
                          5     service connects to one or more of the numerous OCAs within Netflix’s CDN and
                          6     streams video, audio, and other content to the user’s computer.
                          7
                          8
                          9
                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                    18
                    19
                                         Source: https://openconnect.netflix.com/Open-Connect-Overview.pdf
                    20
                                         123. In doing so, the Netflix application on the client device intelligently
                    21
                                selects which of the specific OCAs identified by Netflix to use by evaluating
                    22
                                various factors, including the quality of the network connection to each OCA. The
                    23
                                client device connects to the fastest, most reliable OCA first, but will switch to
                    24
                                another OCA if the video quality declines too much.
                    25
                    26
                    27
                    28          34
                                     https://www.moritzsteiner.de/papers/netflix-hulu.pdf
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                - 36 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 37 of 92 Page ID #:37



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9              Source: http://highscalability.com/blog/2017/12/11/netflix-what-happens-
                    10                   when-you-press-play.html; https://openconnect.netflix.com/Open-Connect-
                    11                   Overview.pdf
                    12                   124. With regard to claim 3 of the ’245 Patent, the Netflix system utilizes a
                    13          “provisioning profile” comprising “preferred service types, desired QoS for one or
                    14          more services, client account information, and/or client credit verification
                    15          information.” For example, the Netflix system maintains account information for
                    16          its users. This includes, amongst other thing, preferred playback settings, plan
                    17          details (e.g., standard or HD), user profile information, parental control
                    18          information, and credit card payment and billing information. On information and
                    19          belief, some or all of this account information is used by the Netflix system in
                    20          selecting the content files and OCAs for use in delivering the title selected by the
                    21          Netflix user.
                    22                   125. With regard to claim 6, the Netflix system also allocates multiple
                    23          routes for delivering the streamed content “based on priority.” For instance, on
                    24          information and belief, the list of OCAs that Netflix provides to the client device
                    25          via the manifest file at the start of the playback session is ranked according to
                    26          priority rules established by Netflix.35
                    27
                                35
                                  See, e.g., http://oc.nflxvideo.net/docs/OpenConnect-Deployment-Guide.pdf;
                    28          https://www.moritzsteiner.de/papers/netflix-hulu.pdf
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                - 37 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 38 of 92 Page ID #:38



                          1              126. As alleged above, Netflix directly infringes at least claims 1, 3, and 6
                          2     of the ’245 Patent.
                          3              127. At least as of on or around September 26, 2019, when the Broadcom
                          4     Entities informed Netflix of its infringement of the ’245 Patent, and by no later than
                          5     the date of this Complaint, Netflix has had knowledge of the ’245 Patent and its
                          6     infringement thereof.
                          7              128. In addition to direct infringement, Netflix has induced, and continues
                          8     to induce, direct infringement by third-parties of at least claims 1, 3, and 6 of the
                          9     ’245 Patent, at least in the exemplary manner described above, by actively
                    10          encouraging their use of the Netflix system, in violation 35 U.S.C. § 271(b).
                    11          Netflix has induced, and continues to induce, direct infringement of the ’245 Patent
                    12          by customers and/or end users of playback devices enabled with the Netflix
                    13          software application and service. Netflix knows that it provides and specifically
                    14          intends to provide an application for use on playback devices that, when used as
                    15          intended with the Netflix streaming service, meets the limitations of claims 1, 3,
                    16          and 6 of the ’245 Patent. Netflix knows and specifically intends that its end users
                    17          practice the method recited in claims 1, 3, and 6 of the ’245 Patent, when using its
                    18          application and service as intended.
                    19                   129. Netflix’s knowing and willful infringement has caused and continues
                    20          to cause damage to Avago, and Avago is entitled to recover damages sustained as a
                    21          result of Netflix’s wrongful acts in an amount subject to proof at trial.
                    22                                     FOURTH CLAIM FOR RELIEF
                    23                                (Infringement of U.S. Patent No. 8,270,992)
                    24                   130. The Broadcom Entities reallege and incorporate by reference the
                    25          allegations of paragraphs 1-129 set forth above.
                    26                   131. The ’992 Patent, entitled “Automatic Quality of Service Based
                    27          Resource Allocation,” was duly and legally issued on September 18, 2012, from a
                    28          patent application filed on July 18, 2011, with Jeyhan Karaoguz and James D.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 38 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 39 of 92 Page ID #:39



                          1     Bennett as the named inventors. The ’992 Patent claims priority to U.S. Provisional
                          2     Application No. 60/504,876, filed on September 22, 2003. A copy of the ʼ992
                          3     Patent is attached hereto as Exhibit D.
                          4              132. The ʼ992 Patent is assigned to Avago, which holds all substantial
                          5     rights, title, and interest in and to and ʼ992 Patent.
                          6              133. Pursuant to 35 U.S.C. § 282, the ʼ992 Patent is presumed valid.
                          7              134. The ’992 Patent is directed to an improvement in the functionality of a
                          8     communication network used to provide a digital media service, such as video
                          9     streaming over the internet.
                    10                   135. Specifically, the ’992 Patent describes and claims a new system and
                    11          method for delivering digital media service to users in a dynamic communication
                    12          network. The invention allocates and utilizes resources from other systems on the
                    13          network in order to provide the user with the digital media service at a higher
                    14          quality level than the quality level they are currently experiencing. As explained in
                    15          the specification, the resource allocation and utilization can be determined by
                    16          quality control modules and communication modules. These modules
                    17          communicate various capability information about the network, such as processing
                    18          capability, communication capability, and information access capability. The
                    19          quality control modules can determine whether utilizing resources of another
                    20          system will provide the service to the user at a higher quality level. If it so
                    21          determines, a distributing processing module can manage the resource allocation.36
                    22                   136. The inventions of the ’992 Patent address technical problems related to
                    23          delivering content over unstable network environments, an issue with prior art
                    24          system existing at the time. In a dynamic and unstable network environment,
                    25          processing resources continuously toggle between available and unavailable. These
                    26          processing resources may offer service capabilities that are superior or inferior to
                    27
                    28          36
                                     See ’992 Patent, 2:8-32.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 39 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 40 of 92 Page ID #:40



                          1     other resources present in the network. For example, a system providing low
                          2     quality audio or video service may communicate with a second system capable of
                          3     providing a higher quality audio or video service.37
                          4              137. The first system providing the lower quality service needs a way of
                          5     both accessing the system with superior resources, utilizing those resources, and
                          6     ultimately delivering content from the superior resource in order to provide higher
                          7     quality content to the user.
                          8              138. The ’992 Patent, therefore, addresses the technical problem of ensuring
                          9     delivery of content at the highest quality level in an unstable network environment
                    10          by utilizing a quality-of-service based network resource allocation delivery system.
                    11                   139. The ’992 Patent claims specific ways to solve these technical problems
                    12          with a digital media delivery system that is capable of automatically determining
                    13          bandwidth capability information in multiple systems, using that information to
                    14          obtain digital media content at a higher quality level than the current quality, and
                    15          then delivering that higher quality digital media content to the user. 38 In this
                    16          manner, it improves the functionality of computer networks used to deliver media
                    17          content by providing a new, advantageous approach for those networks.
                    18                   140. The digital media delivery system disclosed and claimed in the ’992
                    19          Patent uses novel quality control modules, resource allocation modules, and
                    20          distributing processing modules to assess, manage, and use resources in a network
                    21          environment where the availability of resources may vary between systems in the
                    22          network.
                    23                   141. In a two-system network environment, for example, if it is determined
                    24          that the second system has access to higher quality audio or video content than the
                    25          first system, then the first system may receive higher quality data from the second
                    26
                                37
                                   Id. at 1:39-42 (describing delivery of high quality audio), 1:42-49 (describing
                    27          delivery   of high quality video).
                                38
                                   Id. at 3:1-9:16 (describing Figure 1, the method for quality of service based
                    28          resource allocation and utilization in a dynamic wireless network).
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 40 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 41 of 92 Page ID #:41



                          1     system for further processing. The first system can also receive higher quality data
                          2     from the system for immediate delivery and presentation to the user. Alternatively,
                          3     the first system may direct the second system to provide the higher quality data
                          4     directly to the user.39
                          5              142. Claim 1 of the ’992 Patent reads as follows:
                          6                    1. In a portable system, a method for providing a digital
                                               media service to a user, the method comprising:
                          7
                                               delivering digital media content having a current quality
                          8                    level to a user;
                          9                    determining that a network connection with a second
                                               system is available and is characterized by a
                    10                         communication bandwidth that is high enough to provide
                                               the digital media content to the user at a quality level
                    11                         higher than the current quality level;
                    12                         using the network connection to obtain the digital media
                                               content at the higher quality level from the second
                    13                         system; and
                    14                         delivering the digital media content at the higher quality
                                               level to the user instead of the digital media content at the
                    15                         current quality level.
                    16                   143. Claim 1 thus recites a novel solution of determining, accessing, and
                    17          using the resources of another system on a dynamic network environment in order
                    18          to improve digital media content quality delivered to the user by obtaining the
                    19          higher quality content from the second system in a manner that was not well-
                    20          understood, routine, or conventional at the time of the ’992 Patent. In the prior art,
                    21          among other things, the source of the content remained the same between the two
                    22          systems, whereas claim 1 claims obtaining the digital media content at a higher
                    23          quality level from another source, namely the second system.
                    24                   144. Claims 2, 3 and 5 of the ’992 Patent depend from claim 1.
                    25                   145. Claim 2 of the ’992 Patent reads as follows:
                    26                          2. The method of claim 1, where the digital media
                                                content is video media.
                    27
                    28          39
                                     Id. at 14:42-53.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                - 41 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 42 of 92 Page ID #:42



                          1              146. Claim 3 of the ’992 Patent reads as follows:
                          2                    3. The method of claim 1, where the digital media content
                          3                    is audio media.

                          4              147. Claim 5 of the ’992 Patent reads as follows:

                          5                    5. The method of claim 1, where the portable system
                                               automatically performs, without user interaction, said
                          6                    determining, said using, and said delivering the digital
                          7                    media content at the higher quality level to the user.

                          8              148. Netflix directly infringes the ’992 Patent by making, using, selling, and

                          9     offering to sell the Netflix service, which practices the patented invention.

                    10                   149. Upon information and belief, Netflix directly infringes at least claims

                    11          1, 2, 3, and 5 of the ’992 Patent, at least in the exemplary manner described below.

                    12                   150. Netflix practices a “method for providing a digital media service to a

                    13          user” “[i]n a portable system.”

                    14                   151. For example, the Netflix system provides a streaming entertainment

                    15          service that delivers digital video content such as TV series, documentaries, and

                    16          feature films to a wide variety of internet-connected devices, including mobile

                    17          devices such as laptops, tablets, and mobile phones.

                    18                   152. The Netflix system “deliver[s] digital media content having a current

                    19          quality level to a user.” For example, the Netflix system delivers the “best video

                    20          quality stream” to its users “tailored to the member’s available bandwidth and view

                    21          device capability.” To account for variable network conditions, the Netflix

                    22          streaming service encodes video titles at different bit rates so that video can be

                    23          delivered at different quality levels. The Netflix streaming service “pre-encode[s]

                    24          streams at various bitrates applying optimized encoding recipes.” 40

                    25                   153. The Netflix system “determin[es] that a network connection with a

                    26          second system is available and is characterized by a communication bandwidth that

                    27          40
                                  https://medium.com/netflix-techblog/per-title-encode-optimization-
                                7e99442b62a2
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 42 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 43 of 92 Page ID #:43



                          1     is high enough to provide the digital media content to the user at a quality level
                          2     higher than the current quality level.” For instance, the Netflix streaming service is
                          3     designed to adapt to changing network conditions so that the content can be
                          4     delivered and viewed at high levels of quality even when network conditions
                          5     become constrained. Throughout a user’s playback session, the Netflix streaming
                          6     service continuously monitors the network to evaluate changing conditions and
                          7     makes adjustments to the video that is being delivered.
                          8              154. The client device running the Netflix application, which is being
                          9     directed and controlled by Netflix code and other instructions, “intelligently selects
                    10          which OCA to use. It does this by testing the quality of the network connection to
                    11          each OCA. It will connect to the fastest, most reliable OCA first.” The client
                    12          device “keeps running these tests throughout the video streaming process.” “If the
                    13          network quality declines, the client lowers video quality to match. The client will
                    14          switch to another OCA when the quality declines too much." The Netflix streaming
                    15          service uses the user’s IP address and information from internet Service Providers
                    16          to adapt to the quality of the network. The Netflix streaming service also identifies
                    17          which Open Connect Appliance (OCA) clusters are best for the user’s client to use.
                    18          It selects which OCA to use by testing the quality of the network connection to
                    19          each OCA and will connect to the fastest, most reliable OCA first. This process is
                    20          repeated throughout the user’s video streaming experience. 41
                    21                   155. Netflix “us[es] the network connection to obtain the digital media
                    22          content at the higher quality level from the second system” and “deliver[s] the
                    23          digital media content at the higher quality level to the user instead of the digital
                    24          media content at the current quality level.” For example, the client device
                    25          continues to test the quality of the network connection at each OCA throughout the
                    26          video streaming process. “If the network quality declines, the client lowers video
                    27
                                41
                                  http://highscalability.com/blog/2017/12/11/netflix-what-happens-when-you-
                    28          press-play.html
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 43 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 44 of 92 Page ID #:44



                          1     quality to match.” The client will switch to another OCA when the quality declines
                          2     too much. “The Netflix streaming service adapts to the quality of the network and
                          3     will adjust the video quality by switching to another OCA when the quality declines
                          4     too much.” 42 After establishing a connection to another OCA capable of streaming
                          5     content at a higher quality level—for example, streaming video at a higher
                          6     resolution—the Netflix system will provide that content at the higher quality level.
                          7                156. With regard to claims 2 and 3, the Netflix system provides “digital
                          8     media content” in the form of “video media” and “audio media.” For example,
                          9     during the playback process, the Netflix system streams the video and audio files
                    10          associated with the title being viewed.
                    11                     157. With regard to claim 5, within the Netflix system, the “portable system
                    12          automatically performs, without user interaction, said determining, said using, and
                    13          said delivering the digital media content at the higher quality level to the user.” For
                    14          example, Netflix’s process of identifying and using the best OCA and bitrate is
                    15          generally performed by the Netflix system automatically and without user
                    16          interaction. As Netflix has explained, the Netflix application on the client device
                    17          “runs adaptive streaming algorithms which instantaneously select the best encode to
                    18          maximize video quality while avoiding playback interruptions due to rebuffers.”
                    19                     158. Netflix has infringed, and continues to infringe, at least claim 1 of the
                    20          ’992 Patent in the United States by making, using, offering for sale, selling, and/or
                    21          importing the Netflix streaming service, in violation of 35 U.S.C. § 271(a).
                    22                     159. At least as of on or around September 26, 2019 when the Broadcom
                    23          Entities informed Netflix of its infringement of the ’992 Patent, and by no later than
                    24          the date of this Complaint, Netflix has had knowledge of the ’992 Patent and that its
                    25          video streaming service infringes the ’992 Patent.
                    26
                    27
                    28          42
                                     Id.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                  - 44 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 45 of 92 Page ID #:45



                          1              160. In addition to its own direct infringement, Netflix has induced, and
                          2     continues to induce, direct infringement by third-parties of at least claims 1, 2, 3,
                          3     and 5 of the ’992 Patent, at least in the exemplary manner described above, by
                          4     actively encouraging their use of the Netflix system, in violation 35 U.S.C. §
                          5     271(b). For example, Netflix has induced, and continues to induce, direct
                          6     infringement of the ’992 Patent by customers and/or end users of infringing
                          7     playback devices enabled with the Netflix software application and service. Netflix
                          8     knows that it provides and specifically intends to provide an application for use on
                          9     playback devices that, when used as intended with Netflix streaming service, meets
                    10          the limitations of claims 1, 2, 3, and 5 of the ’992 Patent. Netflix knows and
                    11          specifically intends that its end users practice the method recited in claims 1, 2, 3,
                    12          and 5 of the ’992 Patent, when using its application and service as intended.
                    13                   161. Netflix’s knowing and willful infringement has caused and continues
                    14          to cause damage to Broadcom, and Broadcom is entitled to recover damages
                    15          sustained as a result of Netflix’s wrongful acts in an amount subject to proof at trial.
                    16                                      FIFTH CLAIM FOR RELIEF
                    17                               (Infringement of U.S. Patent No. 6,341,375)
                    18                   162. The Broadcom Entities reallege and incorporates by reference the
                    19          allegations of paragraphs 1-161 set forth above.
                    20                   163. The ’375 patent, entitled “Video on demand DVD system” was duly
                    21          and legally issued on January 22, 2002, from a patent application filed on July 14,
                    22          1999, with Daniel Watkins as the named inventor. A copy of the ʼ375 Patent is
                    23          attached hereto as Exhibit E.
                    24                   164. The ʼ375 Patent is assigned to Broadcom Corp., which holds all
                    25          substantial rights, title, and interest in and to the ʼ375 Patent.
                    26                   165. Pursuant to 35 U.S.C. § 282, the ʼ375 Patent is presumed valid.
                    27                   166. The ’375 Patent claims are directed to a new method for distributing
                    28          video. The ’375 Patent describes systems and methods in which the video is
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                - 45 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 46 of 92 Page ID #:46



                          1     delivered to the user on-demand using a drive server, a control server, and one or
                          2     more decoder devices.43 The system can process multiple compressed video
                          3     streams in response to multiple user requests for video content. 44
                          4              167. The ’375 Patent includes embodiments described in the specification
                          5     referring to delivery of compressed video data originating from DVD
                          6     media. However, the systems and methods are not limited to compressed video
                          7     from a particular source and, as the patent explains, a person having ordinary skill
                          8     in the art would recognize that the systems and methods described and claimed in
                          9     the ’375 Patent can be applied to other video distribution models.45 The Netflix
                    10          streaming service is an example of an application of the systems and methods
                    11          described in the claims.
                    12                   168. The inventions of the ’375 Patent resolve technical problems related to
                    13          conventional video-on-demand systems that require the use of physical connections
                    14          and short distances between the sources of video and the decoders or players on
                    15          which the end-user views video content.46 In prior art systems, each user has a
                    16          dedicated video system, such as a DVD player, and decoder at the user’s location.47
                    17                   169. The ’375 Patent, therefore, addresses the technical problem of ensuring
                    18          delivery of compressed video content to multiple remote end user locations.48
                    19                   170. The ’375 Patent claims specific ways to solve these technical problems
                    20          with a video on demand system that is centrally managed and implemented by a
                    21          drive server, a control server, and one or more decoder devices. Each of these
                    22          servers can process one or more compressed video streams in response to one or
                    23          more request signals initiated by a user requesting a video.
                    24                   171. Claim 15 claims an improved method of distributing video:
                    25
                                43
                                     ’375 Patent at 1:56-60.
                    26          44
                                     Id. at 1:60-63.
                                45
                                     Id. at 5:38-43.
                    27          46
                                     Id. at 1:14-41.
                                47
                                     Id. at 1:26-27, 33-35.
                    28          48
                                     See id. at 1:56-2:8.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 46 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 47 of 92 Page ID #:47



                          1                    A method for distributing video comprising the steps of:
                          2                    (A) presenting a plurality of compressed data streams
                                               with a drive server to a control server in response to one
                          3                    or more first control signals;
                          4                    (B) distributing said one or more compressed data streams
                                               received from said drive server with said control server to
                          5                    one or more decoder devices in response to one or more
                                               request signals;
                          6
                                               (C) decoding at least one of said one or more compressed
                          7                    data streams with said one or more decoders in response
                                               to receiving said one or more compressed data streams
                          8                    from said control server; and
                          9                    (D) presenting at least one signal selected from a
                                               decoded video signal and a decoded audio signal in
                    10                         response to decoding said at least one of said one or more
                                               compressed data streams, wherein at least one of said one
                    11                         or more decoders is disposed in a separate room from said
                                               control server and said driver server, wherein a first
                    12                         portion of a selected one of said compressed data streams
                                               is presented to one of said decoder devices and a second
                    13                         portion of said selected compressed data stream is
                                               presented to another of said decoder devices.
                    14
                    15                   172. Claim 15 thus recites a novel solution of a drive server presenting
                    16          multiple compressed video streams and delivering those streams to multiple
                    17          decoder devices in a remote location in a manner that was not well-understood,
                    18          routine, or conventional at the time of the ’375 Patent, resulting in a better video on
                    19          demand system.
                    20                   173. Netflix directly infringed the ‘375 Patent by making, using, offering to
                    21          sell, and/or selling in the United States its Netflix service, which utilizes the
                    22          inventions claimed in the ‘375 Patent to deliver streaming video content. Although
                    23          the ’375 Patent is presently expired, Netflix infringed the ’375 Patent prior to its
                    24          expiration as described below. Avago thus is entitled to damages for Netflix’s
                    25          unauthorized use of the inventions described in the ’375 Patent prior to its
                    26          expiration.
                    27
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 47 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 48 of 92 Page ID #:48



                          1              174. Upon information and belief, the Netflix streaming service directly
                          2     infringed at least claim 15 of the ’375 Patent, at least in the exemplary manner
                          3     described below.
                          4              175. Netflix practices a “method for distributing video” and “presenting a
                          5     plurality of compressed data streams with a drive server to a control server in
                          6     response to one or more first control signals.” The Netflix streaming service is a
                          7     streaming entertainment service that delivers video content using the Netflix CDN,
                          8     OCAs, and S3 servers. For example, the Netflix video titles (“data streams”) are
                          9     presented from an S3 server or an OCA (“drive server”) and sent to other OCAs
                    10          (“control server”), which store and serve video content.
                    11                   176. The Netflix system presents the compressed data streams to OCAs in
                    12          response to one or more control signals. For example, as Netflix describes, “OCAs
                    13          communicate at regular intervals with the control plane services, requesting (among
                    14          other things) a manifest file that contains the list of titles they should be storing and
                    15          serving to members. If there is a delta between the list of titles in the manifest file
                    16          and what they are currently storing, each OCA will send a request, during its
                    17          configured fill window, that includes a list of the new or update titles that it needs.
                    18          The response from the control plan in AWS is a ranked list of potential download
                    19          locations, a.k.a. fill sources, for each title.”49
                    20
                    21
                    22
                    23
                    24
                    25
                    26
                    27
                    28          49
                                     https://netflixtechblog.com/netflix-and-fill-c43a32b490c0
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                 - 48 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 49 of 92 Page ID #:49



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                    18
                    19                   Source: https://medium.com/netflix-techblog/netflix-and-fill-c43a32b490c0
                    20                   177. Netflix performs the step of “distributing said one or more compressed
                    21          data streams received from said drive server with said control server to one or more
                    22          decoder devices in response to one or more request signals.” For example, in
                    23          response to a “Play” request, the Netflix CDN delivers content to Netflix client
                    24          applications (“Netflix Playback Apps”), which are installed on Netflix’s customers’
                    25          client devices, including digital televisions, desktop computers, laptop computers,
                    26          tablet computers, and mobile phones (“decoder devices”). The Netflix CDN is
                    27          illustrated in the following diagram:
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 49 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 50 of 92 Page ID #:50



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                                         Source: https://openconnect.netflix.com/Open-Connect-Overview.pdf
                    10
                    11                   178. Netflix practices “decoding at least one of said one or more
                    12          compressed data streams with said one or more decoders in response to receiving
                    13          said one or more compressed data streams from said control server.” For instance,
                    14          upon receipt of the compressed video, audio, and other content from the Netflix
                    15          CDN at the client device, the content is decoded so that it can be viewed. On
                    16          information and belief, the Netflix Playback Apps decode, or cause the decoding of,
                    17          the content. In Netflix’s own words, “[t]he app uses several approaches for video
                    18          playback on Android such as hardware decoder, software decoder, OMX-AL,
                    19          iOMX”).
                    20
                    21
                    22
                    23
                    24
                    25
                    26
                    27
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 50 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 51 of 92 Page ID #:51



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                    10
                    11
                    12                   Source: http://techblog.netflix.com/2012/03/testing-netflix-on-android.html
                    13                   179. On information and belief, Netflix directs and controls the playback
                    14          process associated with the Netflix service from the client side through its control
                    15          of the Netflix Playback Apps. Netflix develops its own Android and iOS Netflix
                    16          Playback Apps for Android and Apple devices. Netflix also develops its own
                    17          software development kit (SDK) to control third party development of Netflix
                    18          applications on platforms like Smart TVs.
                    19
                    20
                    21
                    22
                    23
                    24
                    25
                    26
                    27                   Source: http://highscalability.com/blog/2017/12/11/netflix-what-happens-

                    28                   when-you-press-play.html
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 51 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 52 of 92 Page ID #:52



                          1              180. Netflix practices “presenting at least one signal selected from a
                          2     decoded video signal and a decoded audio signal in response to decoding said at
                          3     least one of said one or more compressed data streams, wherein at least one of said
                          4     one or more decoders is disposed in a separate room from said control server and
                          5     said driver server, wherein a first portion of a selected one of said compressed data
                          6     streams is presented to one of said decoder devices and a second portion of said
                          7     selected compressed data stream is presented to another of said decoder devices.”
                          8              181. For example, a Netflix client—under the control of the Netflix
                          9     Playback App—presents “at least one signal selected from a decoded video signal
                    10          and a decoded audio signal in response to decoding said at least one of said one or
                    11          more compressed data streams” by playing the decoded video, audio, and other
                    12          Netflix content on the client device. As illustrated below, Netflix content consists
                    13          of video and audio data, in addition to other data types.
                    14
                    15
                    16
                    17
                    18
                    19
                    20
                    21
                                         Source: https://medium.com/netflix-techblog/content-popularity-for-open-
                    22
                                         connect-b86d56f613b
                    23
                                         182. Further, in the Netflix system, “at least one of said one or more
                    24
                                decoders is disposed in a separate room from said control server and said drive
                    25
                                server.” For example, the Netflix CDN processes video requests and audio requests
                    26
                                using OCAs that Netflix strategically positions all over the world based on the
                    27
                                location of Netflix’s users. The OCAs are located within internet exchange points
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 52 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 53 of 92 Page ID #:53



                          1     in significant Netflix markets and are interconnected with internet service
                          2     providers.50 Similarly, the S3 is located on one or more servers in data centers that
                          3     are, generally speaking, far removed from the users streaming Netflix content. In
                          4     contrast, Netflix users can stream Netflix content virtually anywhere with an
                          5     internet connection in numerous countries around the world. Thus, the “one or
                          6     more decoders” (in the client devices) “is disposed in a separate room” from the
                          7     “control server” (the OCA) and the “drive server” (the S3 or OCA).
                          8
                          9
                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17                   Source: https://medium.com/netflix-techblog/content-popularity-for-open-
                    18                   connect-b86d56f613b
                    19                   183. Finally, within the Netflix system, “a first portion of a selected one of
                    20          said compressed data streams is presented to one of said decoder devices and a
                    21          second portion of said selected compressed data stream is presented to another of
                    22          said decoder devices.” For example, on information and belief, when video, audio,
                    23          and other data associated with Netflix content is streamed from an OCA to the
                    24          numerous client devices obtaining Netflix content from that OCA, the data travels
                    25          through the internet infrastructure in a compressed data stream. The relevant
                    26
                    27
                    28          50
                                     https://openconnect.netflix.com/Open-Connect-Overview.pdf
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                - 53 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 54 of 92 Page ID #:54



                          1     portions of that stream are then routed and presented to the appropriate client
                          2     device.
                          3
                          4
                          5
                          6
                          7
                          8
                          9              Source: https://openconnect.netflix.com/Open-Connect-Overview.pdf
                    10                   (arrows added).
                    11                   184.   Netflix directly infringed claim 15, at least as described, when the
                    12          Netflix Playback Apps, Netflix CDN, and Netflix OCAs are used to stream video
                    13          content to multiple users in remote and different locations.
                    14                   185. Netflix’s infringement caused damage to Broadcom Corp., and
                    15          Broadcom Corp. is entitled to recover damages sustained as a result of Netflix’s
                    16          wrongful acts in an amount subject to proof at trial.
                    17                                      SIXTH CLAIM FOR RELIEF
                    18                               (Infringement of U.S. Patent No. 8,572,138)
                    19                   186. The Broadcom Entities reallege and incorporate by reference the
                    20          allegations of paragraphs 1-185 set forth above.
                    21                   187. The ’138 Patent, entitled “Distributed Computing System Having
                    22          Autonomic Deployment of Virtual Machine Disk Images,” was duly and legally
                    23          issued on October 29, 2013, from a patent application filed March 30, 2007, with
                    24          Jagane Sundar, Sanjay Radia, and David A. Henseler as the named inventors. A
                    25          copy of the ʼ138 Patent is attached hereto as Exhibit F.
                    26                   188. The ʼ138 Patent is assigned to Avago, which holds all substantial
                    27          rights, title, and interest in and to the ʼ138 Patent.
                    28                   189. Pursuant to 35 U.S.C. § 282, the ʼ138 Patent is presumed valid.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                - 54 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 55 of 92 Page ID #:55



                          1              190. The ʼ138 Patent is directed to an improvement in the functionality of a
                          2     complex distributed computing system. Specifically, the ’138 Patent claims a new
                          3     method and system for a distributed computing environment that conforms to a
                          4     multi-level, hierarchical organizational model.
                          5              191. Traditional distributed computing systems faced the significant
                          6     challenge of providing an organizational structure that could handle the deployment
                          7     and administration of thousands of virtual computing resources that could carry out
                          8     millions of operations simultaneously. As the ’138 Patent explains, an enterprise
                          9     environment—such as a large business organization—often includes several
                    10          business groups, and each group may have competing and variable computing
                    11          requirements that necessitate separate, independent computing devices connected to
                    12          each other on the network. However, the diversity of competing and variable
                    13          computing requirements increases the cost of distributed computing systems
                    14          because of the increased time and expense associated with the management of
                    15          resources that need to be customized to the unique computing requirements of each
                    16          business group.51
                    17                   192. The ’138 invention solved the technical problems presented by such
                    18          traditional distributed computing systems by developing an infrastructure
                    19          management facility (“IMF”) that guarantees reliable and efficient application
                    20          service delivery independent of the computational infrastructure. The IMF includes
                    21          the implementation of virtual machine managers, or “container services,” capable
                    22          of managing other container services and virtual machines (“VMs”). The virtual
                    23          machines, managed by the VM managers, then appear on the network as available
                    24          resources as if they were independent computing resources that can be accessed by
                    25          various groups and utilized to suit their highly-diverse and specialized computing
                    26          needs.52
                    27
                                51
                                     ’138 Patent at 1:16-33.
                    28          52
                                     Id. at 8:32-36, 9:65-67, 32:65-33:6.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                 - 55 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 56 of 92 Page ID #:56



                          1              193. Claim 1 recites an improved method of distributing software “images”
                          2     (i.e. computer programs) via a number of virtual machines to application nodes:
                          3                     A distributed computing system comprising:
                          4                     a software image repository comprising non-transitory,
                                                computer-readable media operable to store: (i) a plurality
                          5                     of image instances of a virtual machine manager that is
                                                executable on a plurality of application nodes, wherein
                          6                     when executed on the applications nodes, the image
                                                instances of the virtual machine manager provide a
                          7                     plurality of virtual machines, each of the plurality of
                                                virtual machine operable to provide an environment that
                          8                     emulates a computer platform, and (ii) a plurality of
                                                image instances of a plurality of software applications that
                          9                     are executable on the plurality of virtual machines; and
                    10                          a control node that comprises an automation infrastructure
                                                to provide autonomic deployment of the plurality of
                    11                          image instances of the virtual machine manager on the
                                                application nodes by causing the plurality of image
                    12                          instances of the virtual machine manager to be copied
                                                from the software image repository to the application
                    13                          nodes and to provide autonomic deployment of the
                                                plurality of image instances of the software applications
                    14                          on the virtual machines by causing the plurality of image
                                                instances of the software applications to be copied from
                    15                          the software image repository to the application nodes.
                    16                   194. Netflix directly infringes the ’138 Patent by making, using, offering to
                    17          sell, and/or selling in the United States its Netflix service, which utilizes Netflix’s
                    18          Titus Container Management Platform to deploy and manage virtual computing
                    19          resources in a manner that practices the inventions claimed in the ʼ138 Patent.
                    20                   195. Netflix developed the Titus Container Management Platform internally
                    21          and uses it in production to “power Netflix streaming, recommendations, and
                    22          content systems.” 53
                    23                   196. Using the Titus Container Management Platform, Netflix is able to
                    24          more efficiently manage the deployment and administration of the hundreds or
                    25          thousands of VMs necessary for it to provide reliable, high-quality streaming
                    26          services to its millions of customers. For example, in 2018 Netflix reportedly
                    27
                    28          53
                                     https://netflix.github.io/titus/overview/
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                 - 56 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 57 of 92 Page ID #:57



                          1     launched approximately thousands of VM managers and hundreds of thousands of
                          2     VM containers each day.
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                    10
                    11
                    12                   Source: https://www.slideshare.net/aspyker/qconsf18-disenchantment-
                    13                   netflix-titus-its-feisty-team-and-daemons?next_slideshow=1.
                    14                   197. Upon information and belief, Netflix directly infringes at least
                    15          independent claim 1 of the ’138 Patent at least in the exemplary manner described
                    16          below.
                    17                   198. Netflix utilizes a hierarchical “distributed computing system,” as
                    18          taught by the ’138 Patent, to provide a streaming entertainment service that delivers
                    19          video content and other content—such as a customer’s browsing experience,
                    20          content recommendations, and payment information—over a wide geographic area
                    21          through a distributed network of virtual machines. The Titus architecture is
                    22          illustrated in the following diagram and description:
                    23
                    24
                    25
                    26
                    27
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 57 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 58 of 92 Page ID #:58



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                    10
                    11
                    12                   Source: https://www.slideshare.net/aspyker/cmp376-another-week-another-
                    13                   million-containers-on-amazon-ec2; https://medium.com/netflix-
                    14                   techblog/auto-scaling-production-services-on-titus-1f3cd49f5cd7
                    15                   199. The Netflix system uses the Netflix Titus Container Management
                    16          Platform (“Titus”) to manage the distributed computing environment that powers its
                    17          streaming, recommendation, and content delivery systems. 54 The Titus system
                    18          integrates a “software image repository,” such as Docker Registry, to store various
                    19          operating system and application files (i.e., “image instances”) needed to initialize
                    20          new instances of virtual machine managers, which Netflix refers to as “Titus
                    21          Agents.”
                    22                   200. The Titus Agent image instances developed by Netflix are executed on
                    23          the “application nodes”—i.e., “cloud” servers.
                    24                   201. For example, as Netflix explains, the Titus Agents set up and manage
                    25          “virtual machine” containers that are able to independently carry out discrete
                    26          computing tasks to ensure reliable and efficient delivery of Netflix’s streaming
                    27
                    28          54
                                     https://netflix.github.io/titus.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 58 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 59 of 92 Page ID #:59



                          1     services.55 As in the ’138 Patent, each of these virtual machine containers emulates
                          2     a computer platform and is able to execute various software applications under the
                          3     supervision of the Titus Agents.
                          4              202. The Netflix video distribution system also includes “a control node
                          5     that comprises an automation infrastructure to provide autonomic deployment of
                          6     the plurality of image instances of the virtual machine manager on the application
                          7     nodes by causing the plurality of image instances of the virtual machine manager to
                          8     be copied from the software image repository to the application nodes and to
                          9     provide autonomic deployment of the plurality of image instances of the software
                    10          applications on the virtual machines by causing the plurality of image instances of
                    11          the software applications to be copied from the software image repository to the
                    12          application nodes.”
                    13                   203. For example, the Netflix Titus system employs an automation
                    14          infrastructure known as “Titus Master” to be the “control node” for Netflix’s
                    15          distributed computing system. Like the control node of the ’138 invention, the
                    16          Titus Master provides “autonomic deployment” for new instances of the Titus
                    17          Agents (i.e., the “virtual machine managers”) on the “cloud.” The Titus Master is
                    18          responsible for persisting job and task information, scheduling tasks, and managing
                    19          the pool of Titus Agents and can scale the pool of Agents up or down in response to
                    20          demand.56 In doing so, the Titus Master causes the appropriate “image instances”
                    21          (i.e. operating system and software application packages) to be copied from the
                    22          software image repository to the Titus Agents. The Titus Master is illustrated in the
                    23          following diagram and description:
                    24
                    25
                    26          55
                                  Id.
                                56
                                  https://medium.com/netflix-techblog/the-evolutionof-container-usage-at-netflix-
                    27          3abfc096781b;
                                https://medium.com/netflix-techblog/titusthe-netflix-container-management-
                    28          platformis-now-open-source-f868c9fb5436.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 59 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 60 of 92 Page ID #:60



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                    10
                    11
                    12                   Source: https://medium.com/netflix-techblog/auto-scaling-production-
                    13                   services-on-titus-1f3cd49f5cd7; https://netflix.github.io/titus/overview/
                    14                   204. At least as of on or around September 26, 2019, when the Broadcom
                    15          Entities provided Netflix with an exemplary infringement chart for the ’138 Patent,
                    16          and by no later than the date of this Complaint, Netflix has had knowledge of the
                    17          ’138 Patent and its infringement thereof.
                    18                   205. Netflix’s knowing and willful infringement has caused and continues
                    19          to cause damage to Avago, and Avago is entitled to recover damages sustained as a
                    20          result of Netflix’s wrongful acts in an amount subject to proof at trial.
                    21                                    SEVENTH CLAIM FOR RELIEF
                    22                               (Infringement of U.S. Patent No. 6,744,387)
                    23                   206. The Broadcom Entities reallege and incorporate by reference the
                    24          allegations of paragraphs 1-205 set forth above.
                    25                   207. The ʼ387 Patent, entitled “Method and System for Symbol
                    26          Binarization,” was duly and legally issued on June 1, 2004 from a patent
                    27          application filed on July 10, 2002, with Lowell Winger as the named inventor. A
                    28          copy of the ʼ387 Patent is attached hereto as Exhibit G.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                - 60 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 61 of 92 Page ID #:61



                          1              208. The ʼ387 Patent is assigned to Broadcom Corp., which holds all
                          2     substantial rights, title, and interest in and to the ʼ387 Patent.
                          3              209. Pursuant to 35 U.S.C. § 282, the ʼ387 Patent is presumed valid.
                          4              210. The ʼ387 Patent generally concerns an improvement in the way a
                          5     computer system compresses visual and audio data. Specifically, the patent is
                          6     “directed to an improved method for the binarization of data in an MPEG data
                          7     stream.” 57
                          8              211. As the patent explains, MPEG refers to a family of international
                          9     standards developed by the Motion Picture Expert Group that specify how to
                    10          represent visual and audio information in a compressed digital format. 58 The
                    11          MPEG formats make it possible to “represent[] a video signal with data roughly
                    12          1/50th the size of the original uncompressed video, while still maintaining good
                    13          visual quality.” 59 The MPEG formats achieve such high compression by taking
                    14          advantage of the fact that many images in a video stream do not change
                    15          significantly from picture to picture, and if they do change, the differences from one
                    16          picture to the next are often simple. 60 Storing and transmitting only the changes,
                    17          instead of entire pictures, results in considerable savings in data transmission. 61
                    18                   212. In practice, this compression technique is accomplished in a number of
                    19          steps. First, pixel differences between the pictures are “transformed into frequency
                    20          coefficients, and then quantized to further reduce the data transmission.” 62 The
                    21          ʼ387 Patent refers to the resulting transformed and quantized coefficients as
                    22          “symbols.”63 Second, the transformed-quantized symbols are “binarized” to create
                    23          binary representations of each symbol in the form of a “codeword.”64 Third, the
                    24
                                57
                                     ʼ387 Patent, Abstract; see also id. at 1:7-11.
                    25          58
                                     Id. at 1:15-30.
                                59
                                     Id. at 1:36-39.
                    26          60
                                     Id. at 3:29-37.
                                61
                                     Id. at 1:51-54, 3:34-37.
                    27          62
                                     Id. at 1:55-58, 3:40-43.
                                63
                                     See, e.g., id. at 1:55-64, 4:1-4, 4:45-54, 5:10-46, Table 1.
                    28          64
                                     Id. at 4:1-4.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                 - 61 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 62 of 92 Page ID #:62



                          1     binarized codewords are entropy encoded “to reduce the number of bits per symbol
                          2     without introducing any additional video signal distortion.” 65 The patent explains
                          3     that several types of codecs 66 exist for performing the entropy encoding; “[o]ne of
                          4     the most efficient of which is the family of binary arithmetic encoders (BACs).”67
                          5     As the name implies, BACs operate only on binary valued data, which is why the
                          6     symbols must be binarized before they can be entropy encoded.68
                          7              213. Figure 2 of the ʼ387 Patent—the relevant portion of which is
                          8     highlighted below—is a block diagram of an encoder that carries out this encoding
                          9     process.
                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                    18
                    19
                    20
                    21
                    22
                    23
                    24
                    25
                    26          65
                                   Id. at 1:59-63, 4:26-36.
                                66
                                   A codec is a device or computer program for encoding or decoding a digital
                    27          stream   or signal.
                                67
                                   ʼ387  Patent, 4:37-39.
                    28          68
                                   Id. at 4:45-49.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 62 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 63 of 92 Page ID #:63



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                                         Source: ʼ387 Patent, Fig. 2
                    18
                    19                   214. Figure 2 depicts that a source video stream (14) enters the encoder (16)
                    20          at the left and passes to a “combination” module (54), which assembles data related
                    21          to pixel differences between pictures in the video stream. 69 The output of the
                    22          combination module passes to the next module (56), where it is transformed and
                    23          quantized.70 Symbols created by module 56 pass to the binarization module (62),
                    24          which creates binary codewords that represent the symbols. The codewords next
                    25
                    26
                    27
                                69
                                     Id. at 3:49-53.
                    28          70
                                     Id. at 3:54-57.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 63 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 64 of 92 Page ID #:64



                          1     pass to binary arithmetic encoding module (64), where they are entropy encoded.
                          2     And finally, the encoded bitstream (18) exits the encoder at the right. 71
                          3              215. The ʼ387 Patent is directed to the step in this process that occurs in the
                          4     binarization module 62.72 In the prior art, several techniques were available for
                          5     binarizing the symbols, including, for example: unary, binary, Golomb, and exp-
                          6     Golomb binarization.73 The patent explains that those techniques each have certain
                          7     strengths and weaknesses. Unary binarization, for example, generates codewords
                          8     that are more easily distinguishable from one another but that can be exceptionally
                          9     long. Specifically, “[u]nary binarization consists of a number of binary 1s equal to
                    10          an index for a symbol followed by a zero….” 74 Thus, a symbol index value of “1”
                    11          results in a 2-bit codeword, namely “10.” A symbol index value of “2” results in
                    12          the 3-bit codeword “110,” and so on. Thus, each codeword is easily distinguishable
                    13          from the others, but the number of binary values can be quite large—encoding a
                    14          large symbol index may require tens of thousands of bits.75
                    15                   216. Exp-Golomb binarization, on the other hand, greatly reduces the
                    16          maximum possible size of the codewords, but “it does not permit codewords with a
                    17          small symbol index (other than index 0) to be uniquely distinguished from
                    18          codewords with larger symbol indices.”76
                    19                   217. Thus, there was a need for a method and system that could exploit the
                    20          most valuable properties of the unary and exp-Golomb binarizations. 77 The
                    21          invention described in the ʼ387 Patent meets that need:
                    22                          The present invention provides a binarization that retains
                                                the most valuable properties of the unary and exp-Golomb
                    23                          binarizations. That is, small codewords are
                                                distinguishable as with a unary binarization, while large
                    24
                    25          71
                                     Id. at 3:57-4:8.
                                72
                                     Id. at 4:1-2.
                    26          73
                                     Id. at 4:50-51.
                                74
                                     Id. at 4:52-54.
                    27          75
                                     Id. at 5:22-5:45.
                                76
                                     Id. at 6:19-24.
                    28          77
                                     Id. at 2:2-12.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                - 64 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 65 of 92 Page ID #:65



                          1                    codewords have their binarization limited to a reasonable
                                               length. By doing so, the present invention provides a
                          2                    binarization that reduces the complexity and the
                                               bitrate/size for compressing and decompressing video,
                          3                    images, and signals that are compressed using  binary
                                               arithmetic encoding for entropy encoding.78
                          4
                                         218. The ’387 Patent claims methods and systems for constructing
                          5
                                binarized codewords for digital video data (i.e., encoding) based on the index
                          6
                                values of symbols produced by the transformation-and-quantization module of an
                          7
                                encoder. Independent claim 3, for example, recites:
                          8
                                               A binarization system comprising:
                          9
                                               means for determining if a code symbol index value is
                    10                         less than a threshold value
                    11                         means for constructing a codeword using a unary
                                               binarization if said code symbol index value is less than
                    12                         said threshold value; and
                    13                         means for constructing a codeword using a exp-Golomb
                                               binarization if said code symbol index value is not less
                    14                         than said threshold value.
                    15
                                         219. The methods and systems described in the ʼ387 Patent improve the
                    16
                                functionality of computer systems by improving the way they compress and process
                    17
                                video and audio data.
                    18
                                         220. Notably, the Hon. James V. Selna of this District previously held that
                    19
                                the claims of the ʼ387 Patent are patent-eligible under 35 U.S.C. § 101. In doing
                    20
                                so, Judge Selna concluded that these claims “do not simply use general computers
                    21
                                to perform abstract ideas; instead, the mathematical formula attempts to improve
                    22
                                the functioning of compressing and decompressing video, images, and signals.
                    23
                                Therefore, an inventive concept sufficiently transforms the nature of the
                    24
                                claims…into patent-eligible inventions.” 79
                    25
                    26
                    27          78
                                  Id. at 6:26-36.
                                79
                                  Broadcom Corp., et al. v. Sony Corp., et al., SAVC 16-1052 JVS (JCGx), p. 12
                    28          (C.D.C.A. Oct. 5, 2016).
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 65 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 66 of 92 Page ID #:66



                          1              221. Netflix directly infringes at least claim 3 of the ʼ387 Patent at least in
                          2     the exemplary manner described below.
                          3              222. Netflix developed, operates, and uses a “video encoding pipeline”, i.e.,
                          4     a series of video processing applications that operate “in the cloud.” Netflix claims
                          5     that it has developed, and that it uses, its own proprietary video encoding software
                          6     in this pipeline.
                          7
                          8
                          9
                    10
                    11
                    12
                    13                   Source: https://medium.com/netflix-techblog/high-quality-video-encoding-at-
                    14                   scale-d159db052746
                    15                   223. Netflix uses its video encoding pipeline to generate encoded video
                    16          files in a variety of formats, which it then uses to stream movie and TV content to
                    17          its subscribers. As Netflix explains:
                    18                         We ingest high quality video sources and generate video
                                               encodes of various codec profiles, at multiple quality
                    19                         representations per profile. The encodes are packaged
                                               and then deployed to a content delivery network for
                    20                         streaming. During a streaming session, the client requests
                                               the encodes it can play and adaptively switches among
                    21                         quality levels based on network conditions. 80
                    22                   224. Among other encodes, Netflix uses its video encoding pipeline to
                    23          generate content files in the ITU-T H.264 format, also known as Advanced Video
                    24          Coding or “AVC” (“H.264”), and in the ITU-T H.265 format, also known as High
                    25          Efficiency Video Coding or “HEVC” (“H.265”).
                    26
                    27
                                80
                                  https://medium.com/netflix-techblog/high-quality-video-encoding-at-scale-
                    28          d159db052746.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                - 66 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 67 of 92 Page ID #:67



                          1
                          2
                          3
                          4
                          5
                                         Source: https://medium.com/netflix-techblog/high-quality-video-encoding-at-
                          6
                                         scale-d159db052746
                          7
                          8              225. The Netflix video encoding pipeline includes a “binarization system.”
                          9     For example, with regard to the H.264 format used by Netflix, the H.264
                    10          documentation explains how the format employs a “concatenated unary/k-th order
                    11          Exp-Golomb (UEGk) binarization process.” On information and belief, Netflix
                    12          uses the method for UEG(k) encoding set forth in the H.264.2 reference software,
                    13          which serves as an aid for the study and implementation of H.264 video coding.
                    14                   226. On information and belief, the Neflix video encoding pipeline includes
                    15          a “means for determining if a code symbol index value is less than a threshold
                    16          value.” For instance, the H.264.2 reference software features the functions
                    17          unary_exp_golomb_mv_encode() and unary_exp_golomb_level_encode(), which
                    18          are responsible for performing unary exp-golomb encoding for various syntax
                    19          elements. Both of these functions employ code that determines if a symbol index
                    20          value is less than a threshold value.
                    21
                    22
                    23
                    24
                    25
                    26
                    27
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 67 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 68 of 92 Page ID #:68



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                    10
                    11
                    12
                    13
                    14                   Source: unary_exp_golomb_mv_encode() function
                    15
                    16
                    17
                    18
                    19
                    20
                    21
                    22
                    23
                    24                   Source: unary_exp_golomb_level_encode() function
                    25                   227. On information and belief, the Netflix video encoding pipeline
                    26          includes a “means for constructing a codeword using a unary binarization if said
                    27          code symbol index value is less than said threshold value.” For example, in the
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 68 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 69 of 92 Page ID #:69



                          1     H.264.2 reference software, the functions unary_exp_golomb_mv_encode() and
                          2     unary_exp_golomb_level_encode() perform unary binarization of various syntax
                          3     elements when the symbol index value is less than a threshold value (said threshold
                          4     value is 8 and 13, respectively, in the excepts below).
                          5
                          6
                          7
                          8
                          9
                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17                   Source: unary_exp_golomb_mv_encode() function
                    18
                    19
                    20
                    21
                    22
                    23
                    24
                    25
                    26
                    27
                                         Source: unary_exp_golomb_level_encode() function
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                             - 69 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 70 of 92 Page ID #:70



                          1              228. On information and belief, the Netflix video encoding pipeline also
                          2     includes a “means for constructing a codeword using an exp-Golomb binarization if
                          3     said code symbol index value is not less than said threshold value.” For instance,
                          4     functions unary_exp_golomb_mv_encode() and unary_exp_golomb_level_encode()
                          5     in the H.264.2 reference software both call the function
                          6     exp_golomb_encode_eq_prob() when the code symbol value is not less than the
                          7     above-described threshold in order to construct the remainder of the codeword
                          8     using exp-Golomb binarization.
                          9
                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                    18                   Source: exp_golomb_encode_eq_prob() function

                    19                   229. On information and belief, Netflix’s video encoding pipeline also

                    20          infringes claim 3 of the ʼ387 Patent through its use of H.265 encoding. The

                    21          reference software associated with that format proposes a binarization process that

                    22          operates in substantially the same way as described above with regard to the

                    23          H.264.2 reference software. On information and belief, Netflix uses the approach

                    24          to binarization proposed by the H.265.2 reference software in encoding content files

                    25          to the H.265 format.

                    26                   230. At least as of on or around September 26, 2019, when the Broadcom

                    27          Entities informed Netflix of its infringement of the ’387 Patent, and by no later than

                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 70 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 71 of 92 Page ID #:71



                          1     the date of this Complaint, Netflix has had knowledge of the ’387 Patent and the
                          2     infringement thereof by its video encoding pipeline.
                          3              231. Netflix’s knowing and willful infringement of the ʼ387 Patent has
                          4     caused and continues to cause damage to Broadcom Corp., and Broadcom Corp. is
                          5     entitled to recover damages sustained as a result of Netflix’s wrongful acts in an
                          6     amount subject to proof at trial.
                          7                                 EIGHTH CLAIM FOR RELIEF
                          8                           (Infringement of U.S. Patent No. 6,982,663)
                          9              232. The Broadcom Entities reallege and incorporate by reference the
                    10          allegations of paragraphs 1-231 set forth above.
                    11                   233. The ʼ663 Patent, entitled “Method and System for Symbol
                    12          Binarization,” was duly and legally issued on January 3, 2006 from a patent
                    13          application filed on Jul. 10, 2002, naming Lowell Winger as the inventor. A copy
                    14          of the ʼ663 Patent is attached hereto as Exhibit H.
                    15                   234. The ʼ663 Patent is assigned to Broadcom Corp., which holds all
                    16          substantial rights, title, and interest in and to the ʼ663 Patent.
                    17                   235. Pursuant to 35 U.S.C. § 282, the ʼ663 Patent is presumed valid.
                    18                   236. The ʼ663 Patent originates from the same specification as the ʼ387
                    19          Patent. Like the ʼ387 Patent, the ʼ663 Patent generally concerns an improvement in
                    20          the way a computer system compresses visual and audio data. Specifically, the
                    21          patent is “directed to an improved method for the binarization of data in an MPEG
                    22          data stream.” 81
                    23                   237. As the ʼ663 Patent explains, MPEG refers to a family of international
                    24          standards developed by the Motion Picture Expert Group that specify how to
                    25          represent visual and audio information in a compressed digital format. 82 The
                    26          MPEG formats make it possible to “represent[] a video signal with data roughly
                    27
                                81
                                     ʼ663 Patent, Abstract; see also id. at 1:7-11.
                    28          82
                                     Id. at 1:15-30.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                 - 71 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 72 of 92 Page ID #:72



                          1     1/50th the size of the original uncompressed video, while still maintaining good
                          2     visual quality.” 83 The MPEG formats achieve such high compression by taking
                          3     advantage of the fact that many images in a video stream do not change
                          4     significantly from picture to picture, and if they do change, the differences from one
                          5     picture to the next are often simple. 84 Storing and transmitting only the changes,
                          6     instead of entire pictures, results in considerable savings in data transmission. 85
                          7              238. In practice, this compression technique is accomplished in a number of
                          8     steps. First, pixel differences between the pictures are “transformed into frequency
                          9     coefficients, and then quantized to further reduce the data transmission.” 86 The
                    10          ʼ663 Patent refers to the resulting transformed and quantized coefficients as
                    11          “symbols.”87 Second, the transformed-quantized symbols are “binarized” to create
                    12          binary representations of each symbol in the form of a “codeword.”88 Third, the
                    13          binarized codewords are entropy encoded “to reduce the number of bits per symbol
                    14          without introducing any additional video signal distortion.” 89 The patent explains
                    15          that several types of codecs 90 exist for performing the entropy encoding, “[o]ne of
                    16          the most efficient of which is the family of binary arithmetic encoders (BACs).”91
                    17          As the name implies, BACs operate only on binary valued data, which is why the
                    18          symbols must be binarized before they can be entropy encoded.92
                    19                   239. Figure 2 of the ʼ663 Patent—the relevant portion of which is
                    20          highlighted below—is a block diagram of an encoder that carries out this encoding
                    21          process.
                    22
                    23          83
                                   Id. at 1:38-41.
                                84
                                   Id. at 3:31-36.
                    24          85
                                   Id. at 1:51-54; 3:35-39.
                                86
                                   Id. at 1:55-58; 3:41-44.
                    25          87
                                   See, e.g., id. at 1:55-64, 4:1-4, 4:45-54, 5:10-46, Table 1.
                                88
                                   Id. at 4:1-4.
                    26          89
                                   Id. at 1:59-63, 4:26-36.
                                90
                                   A codec is a device or computer program for encoding or decoding a digital
                    27          stream   or signal.
                                91
                                   ʼ663  Patent, 4:34-36.
                    28          92
                                   Id. at 4:42-47.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 72 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 73 of 92 Page ID #:73



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                                         Source: ʼ663 Patent, Fig. 2
                    18
                    19                   240. Figure 2 depicts that a source video stream (14) enters the encoder (16)
                    20          at the left and passes to a “combination” module (54), which assembles data related
                    21          to pixel differences between pictures in the video stream. 93 The output of the
                    22          combination module passes to the next module (56), where it is transformed and
                    23          quantized. Symbols created by module (56) pass to the binarization module (62),
                    24          which creates binary codewords that represent the symbols. The codewords next
                    25          pass to binary arithmetic encoding module (64), where they are entropy encoded.
                    26          And finally, the encoded bitstream (18) exits the encoder at the right. 94
                    27
                                93
                                     Id. at 3:50-58.
                    28          94
                                     Id. at 3:57-4:8.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 73 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 74 of 92 Page ID #:74



                          1              241. The ʼ663 Patent is directed, in part, to the step in this process that
                          2     occurs in the binarization module 62. 95 In the prior art, several techniques were
                          3     available for binarizing the symbols, including, for example: unary, binary,
                          4     Golomb, and exp-Golomb binarization.96 The patent explains that those techniques
                          5     each have certain strengths and weaknesses. Unary binarization, for example,
                          6     generates codewords that are distinguishable from one another but that can be
                          7     exceptionally long. Specifically, “[u]nary binarization consists of a number of
                          8     binary 1s equal to an index for a symbol followed by a zero….”97 Thus, a symbol
                          9     index value of “1” results in a 2-bit codeword, namely “10.” A symbol index value
                    10          of “2” results in the 3-bit codeword “110,” and so on. Thus, each codeword is
                    11          easily distinguishable from the others, but the number of binary values can be quite
                    12          large—encoding a large symbol index may require tens of thousands of bits.98
                    13                   242. Exp-Golomb binarization, on the other hand, greatly reduces the
                    14          maximum possible size of the codewords, but “it does not permit codewords with a
                    15          small symbol index (other than index 0) to be uniquely distinguished from
                    16          codewords with larger symbol indices.”99
                    17                   243. Thus, there was a need for a method and system that could exploit the
                    18          most valuable properties of the unary and exp-Golomb binarizations. 100 The
                    19          invention described in the ʼ663 Patent meets that need:
                    20                         The present invention provides a binarization that retains
                                               the most valuable properties of the unary and exp-Golomb
                    21                         binarizations. That is, small codewords are
                                               distinguishable as with a unary binarization, while large
                    22                         codewords have their binarization limited to a reasonable
                                               length. By doing so, the present invention provides a
                    23                         binarization that reduces the complexity and the
                                               bitrate/size for compressing and decompressing video,
                    24                         images, and signals that are compressed using binary
                    25
                                95
                                   Id. at 4:1-2.
                    26          96
                                   Id. at 4:46-47.
                                97
                                   Id. at 4:48-49.
                    27          98
                                   Id. at 5:22-5:45.
                                99
                                   Id. at 6:14-17.
                    28          100
                                    Id. at 2:1-12.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                - 74 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 75 of 92 Page ID #:75



                          1                    arithmetic encoding for entropy encoding.101
                          2              244. The ʼ663 Patent claims methods and systems utilizing a combination
                          3     of unary and exp-Golomb binarization for encoding and decoding digital video
                          4     data. Independent claim 12, for example, recites:
                          5                    A method for generating a codeword from an index value
                                               for digital video encoding, comprising the steps of:
                          6
                                               (A) generating a first pattern in a first portion of said
                          7                    codeword in response to said index value being at least as
                                               great as a threshold;
                          8
                                               (B) generating a second pattern in a second portion of said
                          9                    codeword following said first portion representing an
                                               offset of said index value above said threshold; and
                    10
                                               (C) generating a third pattern in a third portion of said
                    11                         codeword following said second portion representing a
                                               value of said index value above said offset.
                    12
                    13                   245. As in the ʼ387 Patent, the methods and systems described in the ʼ663
                    14          Patent improve the functionality of computer systems by improving the way they
                    15          compress and process video and audio data.
                    16                   246. Notably, the Hon. James V. Selna of this District previously held that
                    17          the claims of the ʼ663 Patent are patent-eligible under 35 U.S.C. § 101. In doing
                    18          so, Judge Selna concluded that claim 12, and others in the ʼ663 Patent, are “directed
                    19          to improving digital video decoding” and, thus, “are not directed to abstract
                    20          ideas.”102
                    21                   247. Upon information and belief, Netflix directly infringes at least claim
                    22          12 of the ʼ663 Patent at least in the exemplary manner described below.
                    23                   248. Figure 5 of the ʼ663 Patent, which depicts Table 3, demonstrates a
                    24          particular instance of the hybrid unary-exp-Golomb codes described in that patent.
                    25          As the ʼ663 Patent explains, “Table 3 illustrates a binarization that is particularly
                    26
                    27          101
                                   Id. at 6:19-28.
                                102
                                   Broadcom Corp., et al. v. Sony Corp., et al., SAVC 16-1052 JVS (JCGx), p. 9
                    28          (C.D.C.A. Oct. 5, 2016).
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 75 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 76 of 92 Page ID #:76



                          1     appropriate for the binarization of quarter pixel motion vector residual magnitudes
                          2     of MPEG-AVC/H.264.” 103 The patent describes how, upon reaching the threshold
                          3     at which unary to exp-Golomb switching occurs (N=64 for Table 3), the index
                          4     comprises three parts: (1) the initial prefix (highlighted in blue below); (2) a unary
                          5     representation appended to the initial prefix to form the unary prefix (highlighted in
                          6     red below); and (3) the exp-Golumb suffix (highlighted in green below).104
                          7
                          8
                          9
                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                    18
                    19
                    20
                    21
                    22
                    23
                    24                   Source: ʼ663 Patent, Fig. 5
                    25
                    26
                    27
                                103
                                      ʼ663 Patent, 6:35-40.
                    28          104
                                      See id. at 6:44-63.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 76 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 77 of 92 Page ID #:77



                          1              249. As explained above, Netflix developed, operates, and uses a video
                          2     encoding pipeline to encode its film and TV content in a variety of digital formats,
                          3     including H.264 and H.265.
                          4              250. The Netflix video encoding system practices a “method for generating
                          5     a codeword from an index value for digital video encoding.” For instance, with
                          6     regard to the H.264 format used by Netflix, the H.264 documentation explains how
                          7     the format employs a “concatenated unary/k-th order Exp-Golomb (UEGk)
                          8     binarization process.” This process generates codewords from index values. On
                          9     information and belief, Netflix uses the method for UEG(k) encoding set forth in
                    10          the H.264.2 reference software, which serves as an aid for the study and
                    11          implementation of H.264 video coding.
                    12                   251. On information and belief, the Netflix video encoding pipeline
                    13          practices the step of “generating a first pattern in a first portion of said codeword in
                    14          response to said index value being at least as great as a threshold.” For instance,
                    15          the H.264.2 reference software features the functions
                    16          unary_exp_golomb_mv_encode() and unary_exp_golomb_level_encode(), which
                    17          are responsible—in part—for generating codewords from index values during the
                    18          encoding process. Where the index value meets or exceeds a certain threshold (8
                    19          for unary_exp_golomb_mv_encode() and 13 for
                    20          unary_exp_golomb_level_encode()), these functions populate the first portion of
                    21          the codeword with a pattern representing an initial prefix.
                    22
                    23
                    24
                    25
                    26
                    27
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 77 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 78 of 92 Page ID #:78



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                    10
                    11
                    12
                    13
                    14
                    15                   Source: unary_exp_golomb_mv_encode() function
                    16
                    17
                    18
                    19
                    20
                    21
                    22
                    23
                    24
                    25
                    26
                    27                   Source: unary_exp_golomb_level_encode() function
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                            - 78 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 79 of 92 Page ID #:79



                          1              252. On information and belief, the Netflix video encoding system also
                          2     “generat[es] a second pattern in a second portion of said codeword following said
                          3     first portion representing an offset of said index value above said threshold.” For
                          4     example, both the unary_exp_golomb_mv_encode() and
                          5     unary_exp_golomb_level_encode() functions call the function
                          6     exp_golomb_encode_eq_prob() when the index value exceeds the thresholds
                          7     described above. The exp_golomb_encode_eq_prob() function generates a second
                          8     portion of the codeword—the unary representation appended to the initial prefix to
                          9     form the unary prefix—when the index value exceeds the thresholds.
                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                    18
                    19
                    20
                    21                   Source: exp_golomb_encode_eq_prob() function
                    22
                    23
                    24
                    25
                    26
                    27
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 79 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 80 of 92 Page ID #:80



                          1              253. Further, on information and belief, the Netflix video encoding system
                          2     “generat[es] a third pattern in a third portion of said codeword following said
                          3     second portion representing a value of said index value above said offset.” For
                          4     example, after the unary prefix described above, the
                          5     exp_golomb_encode_eq_prob() function generates a third portion of the
                          6     codeword—the exp-Golumb suffix—which captures the value of the index above
                          7     the offset described above.
                          8
                          9
                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                    18                   Source: exp_golomb_encode_eq_prob() function
                    19                   254. On information and belief, Netflix’s video encoding pipeline also
                    20          infringes claim 12 of the ʼ663 Patent through its use of H.265 encoding. The
                    21          reference software associated with that format proposes a binarization process that
                    22          operates in substantially the same way as described above with regard to the
                    23          H.264.2 reference software. On information and belief, Netflix uses the approach
                    24          to binarization proposed by the H.265.2 reference software in encoding content files
                    25          to the H.265 format.
                    26                   255. At least as of on or around September 26, 2019, when the Broadcom
                    27          Entities informed Netflix of its infringement of the ’663 Patent, and by no later than
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 80 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 81 of 92 Page ID #:81



                          1     the date of this Complaint, Netflix has had knowledge of the ’663 Patent and the
                          2     infringement thereof by its encoding pipeline.
                          3              256. Netflix’s knowing and willful infringement of the ʼ663 Patent has
                          4     caused and continues to cause damage to Broadcom Corp., and Broadcom Corp. is
                          5     entitled to recover damages sustained as a result of Netflix’s wrongful acts in an
                          6     amount subject to proof at trial.
                          7                                 NINTH CLAIM FOR RELIEF
                          8                          (Infringement of U.S. Patent No. 9,332,283)
                          9              257. The Broadcom Entities reallege and incorporate by reference the
                    10          allegations of paragraphs 1-256 set forth above.
                    11                   258. The ʼ283 Patent, entitled “Signaling of prediction size unit in
                    12          accordance with video coding,” was duly and legally issued on May 3, 2016 from a
                    13          patent application filed on June 14, 2012, with Peisong Chen, Brian Heng, and
                    14          Wade Wan as the named inventors. A copy of the ʼ283 Patent is attached hereto as
                    15          Exhibit I.
                    16                   259. The ’283 Patent claims priority from U.S. Provisional Application No.
                    17          60/539,948, filed on September 27, 2011.
                    18                   260. The ʼ283 Patent is assigned to Broadcom Corp., which holds all
                    19          substantial rights, title, and interest in and to the ʼ283 Patent.
                    20                   261. Pursuant to 35 U.S.C. § 282, the ʼ283 Patent is presumed valid.
                    21                   262. The ʼ283 Patent generally concerns an improved system for encoding
                    22          and decoding video content that ensures a high quality output when transmitting
                    23          that content to viewers. Specifically, the patent relates to an improved method for
                    24          encoding video content using a process known as binarization in order to transmit
                    25          that information to users more efficiently.
                    26                   263. At the time of the inventions claimed in the ’283 Patent, persons
                    27          engaged in developing next-generation video encoding technologies were looking
                    28          to take advantage of ongoing innovations in parallel processing power and
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                - 81 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 82 of 92 Page ID #:82



                          1     increased video resolutions, which could make performing complex encoding
                          2     operations more efficient and lead to improved user experiences. Video encoding is
                          3     a multi-step process that begins with an input video signal, and results in an output
                          4     bitstream of encoded video data. As discussed above, between the input of the
                          5     video signal and the output of the encoded video data the encoding process includes
                          6     various operations that are performed on constituent portions of the input video
                          7     signal to create a video stream according to a particular encoding format.
                          8              264. As the patent explains, among the advances at the time was the use of
                          9     “predictive” (P) slices and “bi-predictive” (B) slices as components of the video
                    10          data being processed.105 P slices and B slices, in turn, are comprised of smaller
                    11          components, including “coding tree units” and “coding units.” As described in the
                    12          ’283 Patent, coding units can be “encoded” for different types of “prediction”
                    13          processing, namely, “inter-prediction” or “intra-prediction.”106 Subsequently,
                    14          “prediction units” (PU) can be encoded for different “partition modes,” to be used
                    15          in the intra- or inter-prediction processing.
                    16                   265. Generally speaking, prediction and partition modes are encoded using
                    17          binary “codewords.” These codewords can be generated using a “binary tree.” In
                    18          general terms, a binary tree is a data structure that can be used to represent data and
                    19          associate it with a corresponding bit sequence and vice versa. In this context, a
                    20          “binary tree” data structure is used to create a sequence of binary numbers based on
                    21          the selection of a “1” or a “0” at different positions (sometimes referred to as
                    22          “nodes”) in the binary tree, starting at the beginning (“root”). Traversing the binary
                    23          tree from the root to a “leaf” (an endpoint) results in a bit sequence that corresponds
                    24          to a specific encoding.107 Figure 13 of the ’283 Patent, for example, represents
                    25          binary trees as follows:
                    26
                    27          105
                                      ’283 Patent, at 17:24-48.
                                106
                                      See, e.g., id. at 17:9-12.
                    28          107
                                      See id. at Figs. 13, 14, 15.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 82 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 83 of 92 Page ID #:83



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                    10
                    11
                    12
                    13
                    14          In the left side of the exemplary image above, the annotated binary tree generates a
                    15          codeword of “001,” which is associated with a partition mode of “Nx2N.” 108
                    16                   266. The use of P slices and B slices in an encoding protocol can introduce
                    17          inefficiencies when encoding coding units of the different slice types. This is
                    18          because at the time of the invention of the ’283 Patent, the encoding of P and B
                    19          slices required separate codewords generated using different binary trees, which
                    20          resulted in extra burdens on the encoding system and higher overhead. 109
                    21                   267. Thus, there was a need for a method and system that could reduce this
                    22          inefficiency. 110 The invention described in the ʼ283 Patent meets that need.
                    23          Specifically, the ’283 Patent’s system and method for using “only a singular
                    24          codebook . . . for both processing of the B slices and P slices,” may be employed to
                    25          provide a “very efficient implementation.”111 The methods and systems described
                    26
                                108
                                      Id. at Fig. 13 (annotations added).
                    27          109
                                      Id. at 19:21-35; 20:19-30.
                                110
                                      ’283 Patent at 18:55-19:12.
                    28          111
                                      Id. at 18:60-63.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                 - 83 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 84 of 92 Page ID #:84



                          1     in the ʼ283 Patent thus improve the functionality of computer systems by improving
                          2     the way they compress and process video and audio data.
                          3              268. The inventions described and claimed in the ’283 Patent include
                          4     encoding using two syntax elements derived from a single binary tree that can be
                          5     applied to both P slices and B slices to indicate (1) whether inter-prediction or intra-
                          6     prediction applies to a selected coding unit, and (2) the prediction unit partition
                          7     mode that applies based on whether or not the selected coding unit is the smallest
                          8     coding unit (SCU) having a prediction unit size NxN.
                          9              269. The ’283 Patent claims methods and systems that use a single binary
                    10          tree to encode coding unit (CU) prediction when processing P slices and B slices
                    11          for digital video data. Independent claim 1, for example, recites:
                    12                         A video processing device comprising:
                    13                         a video encoder configured to:
                    14                         encode an input video signal to generate an output
                                               bitstream;
                    15
                                               employ a single binary tree when processing at least one P
                    16                         slice and at least one B slice to generate the output
                                               bitstream, wherein the at least one P slice is used for
                    17                         unidirectional prediction forward or behind in at least one
                                               frame sequence, and wherein the at least one B slice is
                    18                         used for bidirectional prediction both forward and behind
                                               in the at least one frame sequence;
                    19
                                               employ the single binary tree to encode coding unit (CU)
                    20                         prediction based on a selected CU that is selected from a
                                               plurality of CUs when generating a first syntax element
                    21                         for both the at least one P slice and the at least one B slice
                                               that undergo entropy encoding to generate the output
                    22                         bitstream, wherein the first syntax element specifies intra-
                                               prediction processing or inter-prediction processing for
                    23                         the selected CU; and
                    24                         employ the single binary tree to encode prediction unit
                                               (PU) partition mode based on the selected CU when
                    25                         generating a second syntax element for both the at least
                                               one P slice and the at least one B slice that undergo the
                    26                         entropy encoding to generate to generate [sic] the output
                                               bitstream, wherein the second syntax element specifies
                    27                         the PU partition mode for the selected CU, wherein the
                                               PU partition mode is based on a size N×N PU when the
                    28                         selected CU is a smallest CU (SCU) of the plurality of
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                - 84 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 85 of 92 Page ID #:85



                          1                    CUs and is based on a different size PU than the size N×N
                                               PU when the selected CU is another CU than the SCU of
                          2                    the plurality of CUs, wherein N is a positive integer.
                          3              270. Netflix directly infringes at least claim 1 of the ʼ283 Patent at least in
                          4     the exemplary manner described below.
                          5              271. Netflix developed, operates, and uses a “video encoding pipeline”, i.e.,
                          6     a series of video processing applications. Netflix uses its video encoding pipeline to
                          7     generate encoded video files in a variety of formats, which it then uses to stream
                          8     movie and TV content to its subscribers. As Netflix explains:
                          9                    We ingest high quality video sources and generate video
                                               encodes of various codec profiles, at multiple quality
                    10                         representations per profile. The encodes are packaged
                                               and then deployed to a content delivery network for
                    11                         streaming. During a streaming session, the client requests
                                               the encodes it can play and adaptively switches among
                    12                         quality levels based on network conditions. 112
                    13                   272. Among other encoding formats, Netflix uses its video encoding
                    14          pipeline to generate content in the H.265 format, also known as High Efficiency
                    15          Video Coding or “HEVC” (“H.265”).
                    16
                    17
                    18
                    19
                    20
                    21                   Source: https://medium.com/netflix-techblog/high-quality-video-encoding-at-
                    22                   scale-d159db052746
                    23                   273. On information and belief, the Netflix video encoder includes a
                    24          binarization system that employs a “single binary tree.” For example, the H.265
                    25          format employs a “binary tree” in the processing (i.e., encoding) of P slices and B
                    26          slices. Specifically, the H.265 format utilizes coding schemes that define a unique
                    27
                                112
                                  https://medium.com/netflix-techblog/high-quality-video-encoding-at-scale-
                    28          d159db052746.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                                - 85 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 86 of 92 Page ID #:86



                          1     mapping of syntax element values to sequences of binary symbols, which are
                          2     interpreted in terms of a binary code tree. 113
                          3              274. On information and belief, the Netflix video encoder employs the
                          4     binary tree to generate a “first syntax element” of a coding unit, wherein the “first
                          5     syntax element” specifies intra-prediction processing or inter-prediction processing
                          6     for the selected coding unit. For example, H.265 reference software features the
                          7     parameter PredMode which specifies the “prediction mode” (i.e., intra-prediction
                          8     processing or inter-prediction processing) of a selected coding unit. The function
                          9     pcCU->isIntra() then returns either 1 or 0 depending on whether intra- or inter-
                    10          prediction mode is selected for the particular coding unit. If the selected coding
                    11          unit pcCU was encoded using intra-prediction mode (i.e., pcCU->isIntra() is
                    12          TRUE) the encodeBin() function codes 1. If inter-prediction mode is selected, the
                    13          encodeBin() codes 0.114
                    14
                    15
                    16
                    17
                    18
                    19
                    20
                    21
                    22
                    23
                    24
                    25
                    26          113
                                    See, e.g., ITU-T Recommendation H.265: High Efficiency Video Coding, at §
                                7.3.8.5 (November 2019) (available at https://www.itu.int/rec/T-REC-H.265)
                    27          (“H.265 Recommendation”) (describing binary tree coding syntax using pseudo
                                code).
                    28          114
                                    See also, H.265 Recommendation at § 7.4.9.5.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 86 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 87 of 92 Page ID #:87



                          1
                          2              Source: H.265.2: Reference software for ITU-T H.265 High Efficiency
                          3              Video Coding (December 2016) (available at https://www.itu.int/rec/T-REC-
                          4              H.265.2).
                          5              275. The binary tree that the Netflix video encoder employs to encode a
                          6     coding unit prediction mode using a first syntax element for coding units for both P
                          7     slices and B slices thus may be represented as follows, in which “1” codes for intra-
                          8     prediction, and “0” codes for inter-prediction:
                          9
                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                    18                   276. The Netflix video encoder is configured to employ the single binary
                    19          tree to encode prediction unit (“PU”) partition mode based on the selected coding
                    20          unit “when generating a second syntax element for both the at least one P slice and
                    21          the at least one B slice,” wherein the second syntax element specifies the PU
                    22          partition mode for the selected CU. For example, the H.265 reference software
                    23          specifies the parameter “PartSize” and the function “getPartitionSize” which
                    24          identifies the partition mode for the selected CU (“pcCU”). This particular example
                    25          shows how in the case of a 2N×2N partition, the function encodeBin() generates the
                    26          binary code “1”.
                    27
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 87 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 88 of 92 Page ID #:88



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17                   Source: H.265.2: Reference software for ITU-T H.265 High Efficiency
                    18                   Video Coding (December 2016) (available at https://www.itu.int/rec/T-REC-
                    19                   H.265.2).
                    20                   277. As indicated in the Table 9-45 of the H.265 Recommendation, the
                    21          partition mode for a particular coding unit is dependent on the prediction mode
                    22          (CuPredMode) of the coding unit. 115 Table 9-45 depicts the first syntax element
                    23          (CuPredMode) and the second syntax element (encoding for the partition mode) for
                    24          different size coding unit cases. The illustration below, in conjunction with Table
                    25          9-45, depicts the single binary tree encoding both the prediction mode and the
                    26          partition mode.
                    27
                    28          115
                                      See H.265 Recommendation, at Table 9-45.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                             - 88 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 89 of 92 Page ID #:89



                          1
                          2
                          3
                          4
                          5
                          6
                          7
                          8
                          9
                    10
                    11
                    12
                    13
                    14
                    15                   Source: H.265 Recommendation at Table 9-45 (annotations added).
                    16                   278. Thus, on information and belief, the Netflix video encoder employs the
                    17          single binary tree to encode prediction unit partition mode when generating a
                    18          second syntax element, wherein the second syntax element specifies the partition
                    19          mode for the selected coding unit. In the table above, the coding unit example is of
                    20          a size “log2CbSize” equals “3”.
                    21                   279. As indicated in the image above, when the prediction mode is intra-
                    22          prediction processing, the single binary tree encodes a second syntax element of
                    23          either 1 or 0, which indicates a partition mode (PartMode (column 3)) of
                    24          PART_2Nx2N or PART_NxN, respectively. Similarly, when the prediction mode
                    25          is inter-prediction processing, the single binary tree for the example coding unit size
                    26          specifies a second syntax element of 1, 01, or 00, which indicates a partition mode
                    27          of PART_2Nx2N, PART_2NxN, or PART_Nx2N, respectively.
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                              - 89 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 90 of 92 Page ID #:90



                          1              280. On information and belief, the Neflix video encoder employs a PU
                          2     partition mode that is “based on a size N×N PU when the selected CU is a smallest
                          3     CU (SCU)” and “is based on a different size PU than the size N×N PU when the
                          4     selected CU is another CU than the SCU.” The H.265 format supports variable
                          5     prediction block sizes from 64×64 down to 4×4 samples. The minimum size CU is
                          6     assigned a size N×N Prediction Unit (PU) as a special case. 116 Thus, the prediction
                          7     unit partition mode is based on a coding unit size of N×N when the coding unit is
                          8     the smallest coding unit, and the prediction unit partition mode is based on a
                          9     different size prediction unit when the coding unit is a size other than the smallest
                    10          coding unit. 117 Thus, the Netflix video encoding system, as described above,
                    11          practices at least claim 1 of the ’283 Patent.
                    12                   281. Indeed, Netflix has published studies in which it has quantified the
                    13          benefits of H.265 encoding. Through its own testing, Netflix determined that
                    14          H.265 encoders can achieve equivalent subjective reproduction quality as encoders
                    15          that conform to H.264/MPEG-4 AVC while using approximately 50% less bit rate
                    16          (i.e., the amount of data “bits” transmitted per second).118 Thus, Netflix has
                    17          specifically recognized benefits achieved by the inventions of the ’283 Patent.
                    18                   282. By no later than the date of this Complaint, Netflix has had knowledge
                    19          of the ’283 Patent and the infringement thereof by its encoding system.
                    20                   283. Netflix’s infringement of the ʼ283 Patent, which is knowing and
                    21          willful at least as of the filing of this Complaint, has caused and continues to cause
                    22          damage to Broadcom Corp., and Broadcom Corp. is entitled to recover damages
                    23          sustained as a result of Netflix’s wrongful acts in an amount subject to proof at trial.
                    24
                    25
                                116
                                    See e.g., Overview of the High Efficiency Video Coding (HEVC) Standard, IEEE
                    26          Transactions On Circuits And Systems For Video Technology, Vol. 22, No. 12,
                                (December 2012).
                    27          117
                                    See Table 9-45 at column “PartMode.”
                                118
                                    https://netflixtechblog.com/a-large-scale-comparison-of-x264-x265-and-libvpx-
                    28          a-sneak-peek-2e81e88f8b0f.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 90 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 91 of 92 Page ID #:91



                          1                                    PRAYER FOR RELIEF
                          2              WHEREFORE, the Broadcom Entities respectfully request that the Court
                          3     enter a judgment in their favor and against Netflix:
                          4              1.    Declaring that Netflix has directly infringed one or more claims of the
                          5     Patents-in-Suit in violation of 35 U.S.C. § 271;
                          6              2.    Declaring that Netflix has induced infringement of one or more claims
                          7     of the ’079, ’121, ’245, and ’992 Patents in violation of 35 U.S.C. § 271(b);
                          8              3.    Declaring that Netflix’s infringement of the ’079, ’121, ’245, ’992,
                          9     ’138, ’387, ’663, and ’283 Patents is willful and deliberate pursuant to 35 U.S.C. §
                    10          284;
                    11                   4.    Enjoining Netflix from further infringing the ’079, ’121, ’245, ’992,
                    12          and ’138 Patents;
                    13                   5.    Ordering that the Broadcom Entities be awarded damages in an
                    14          amount no less than a reasonable royalty for each asserted patent arising out of
                    15          Netflix’s infringement of the Patents-in-Suit, together with any other monetary
                    16          amounts recoverable, such as treble damages;
                    17                   6.    Declaring that this is an exceptional case under 35 U.S.C. § 285 and
                    18          awarding the Broadcom Entities their attorneys’ fees and costs;
                    19                   7.    Ordering that Netflix is required to pay exemplary damages pursuant
                    20          to 35 U.S.C. § 284;
                    21                   8.    Awarding pre-judgment and post-judgment interest and costs against
                    22          Netflix; and
                    23                   9.    Awarding the Broadcom Entities such other and further relief as the
                    24          Court deems just and proper.
                    25                                                JURY DEMAND
                    26                   The Broadcom Entities demand a trial by jury of all claims in this action so
                    27          triable.
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                               - 91 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
                              Case 8:20-cv-00529 Document 1 Filed 03/13/20 Page 92 of 92 Page ID #:92



                          1     Dated: March 13, 2020                 HOPKINS & CARLEY
                                                                      A Law Corporation
                          2
                          3
                                                                      By: /s/ Jason S. Angell
                          4                                              Jason S. Angell
                                                                         Christopher A. Hohn
                          5                                              Cary Chien
                                                                         Robert K. Jain
                          6                                              Attorneys for Plaintiff
                                                                         BROADCOM CORPORATION,
                          7                                              AVAGO TECHNOLOGIES
                                                                         INTERNATIONAL SALES PTE.
                          8                                              LIMITED
                          9
                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                    18
                    19
                    20
                    21
                    22
                    23
                    24
                    25
                    26
                    27
                    28
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW            692\3399782                         - 92 -
 SAN JO SE   PALO AL TO
                                COMPLAINT FOR PATENT INFRINGEMENT
